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 id' 1 s                                                                                                           CT Corporation
,z_l®Wolters Kluwer                                                                                 Service of Process Notification
                                                                                                                                01/08/2024
                                                                                                               CT Log Number 545484998



           Service of Process Transmittal Summary


           TO:       Natalie D'Amora, Senior Counsel
                     Chubb
                     436 WALNUT ST
                     PHILADELPHIA, PA 19106-3703


           RE:       Process Served in Florida

           FOR:      ACE American Insurance Company (Domestic State: PA)



           ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

           TITLE OF ACTION:                        WHERE'S EILEEN, LLC, MARK J. FISCHER AND EILEEN FISCHER vs. ACE AMERICAN
                                                   INSURANCE COMPANY

           CASE #:                                 CACE23022594

           NATURE OF ACTION:                       Insurance Litigation

           PROCESS SERVED ON:                      CT Corporation System, Plantation, FL

           DATE/METHOD OF SERVICE:                 By Electronic Receipt on 01/08/2024 at 00:00

           JURISDICTION SERVED:                    Florida

           ACTION ITEMS:                           CT has retained the current log, Retain Date: 01/08/2024, Expected Purge Date:
                                                   01/13/2024

                                                   Image SOP

                                                   Email Notification, Incoming Legal incominglegal@chubb.com

                                                   Email Notification, Taryn Kindred Taryn.Kindred@Chubb.com


           REGISTERED AGENT CONTACT:               CT Corporation System
                                                   1200 South Pine Island Road
                                                   Plantation, FL 33324
                                                   877-564-7529
                                                   MajorAccountTeam1@wolterskluwer.com

           REMARKS:                                Process received by Chief Financial Officer on 01/04/2024, and forwarded to C T
                                                   Corporation System by electronic delivery on 01/08/2024




           The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
           and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
           information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
           included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
           disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
           contained therein.




                                                                                                                        A
                                                                                                                                 Page 1 of 1
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                                                                                                          *24-000003603*
 CHIEF FINANCIAL OFFICER
 JIMMY PATRONIS
    SLUE 1)1 FLORIDA




WHERE'S EILEEN, LLC, MARK J. FISCHER AND                             CASE #:    CACE-23-022594
EILEEN FISCHER                                                       COURT:     17TH JUDICIAL CIRCUIT
                                                                     COUNTY:    BRO WARD
PLAINTIFF(S)                                                         DFS-SOP #: 24-000003603

VS.

ACE AMERICAN INSURANCE COMPANY

DEFENDANT(S)

SUMMONS




                                 NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer
of the State of Florida. Said process was received in my office by ELECTRONIC DELIVERY on
Thursday, January 4, 2024 and a copy was forwarded by ELECTRONIC DELIVERY on Monday,
January 8, 2024 to the designated agent for the named entity as shown below.


          ACE AMERICAN INSURANCE COMPANY
          DONNA MOCH
          1200 SOUTH PINE ISLAND ROAD
          PLANTATION, FL 33324




*Our office will only serve the initial process (Summons and Complaint) or Subpoena and is not
responsible for transmittal of any subsequent filings, pleadings, or documents unless otherwise
ordered by the Court pursuant to Florida Rules of Civil Procedure, Rule 1.080.




                                                                              Jimmy Patronis
                                                                              Chief Financial Officer




MICHAEL CRAIG NOLAN
CERTIFIED PROCESS SERVER #111
NOLAN PROCESS SERVERS, LLC
7498 ANGLEWOOD LANE
TALLAHASSEE, FL 32309                                                                                                 AC2




                                        Office of the General Counsel - Service of Process Section
                           200 East Gaines Street - P.O. Box 6200 - Tallahassee, FL 32314-6200 - (850)413-4200
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Filing # 188408831 E-Filed 12/20/2023 11:12:57 AM


                                                               IN THE COURT OF THE SEVENTEENTH
                                                               JUDICIAL CIRCUIT IN AND FOR
                                                               BRO WARD COUNTY, FLORIDA

         WHERE'S EILEEN, LLC, MARK J. FISCHER
         and EILEEN FISCHER,

                        Plaintiffs,

         V.                                                    CASE NO.: CACE-23-022594

         ACE AMERICAN INSURANCE COMPANY,

                        Defendant.



                                           CIVIL ACTION SUMMONS

               YOU ARE HEREBY COMMANDED to serve this Summons and copy of the
         Complaint in this action on the following Defendant:

                                      ACE AMERICAN INSURANCE COMPANY
                                              200 East Gaines Street
                                            Tallahassee, FL 32399-0301

                                                   IMPORTANT

         A lawsuit has been filed against you. You have 20 calendar days after this summons is served on
         you to file a written response to the attached Complaint with the Clerk of this Court. A phone call
         will not protect you. Your written response, including the case number given above and the
         names of the parties, must be filed if you want the Court to hear your side of the case. If you do
         not file your response on time, you may lose the case, and your wages, money, and property may
         thereafter be taken without further warning from the Court. There are other legal requirements.
         You may want to call an attorney right away. If you do not know an attorney, you may call an
         attorney referral service or a legal aid office (listed in the phonebook).

                 If you choose to file a written response yourself, at the same time you file your written
         response to the Court you must also mail or take a copy of your written response to the
         "Plaintiff/Plaintiff s Attorney" named below.

                              LAW OFFICES OF MICHELLE OTERO VALDES
                                 C/O MICHELLE OTERO VALDES, B.C.S.
                                2030 SOUTH DOUGLAS ROAD., SUITE 117
                                    CORAL GABLES, FLORIDA 33143
                                        Telephone: (305) 377-3700
                                        Facsimile: (786) 580-4671


                                           www.michelleoterovaldes.coin


          *** FILED: BROWARD COUNTY, FL BRENDA D. FORMAN, CLERK 12/20/2023 11:12:55 AM.****
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   In accordance with the Americans with Disabilities Act of 1990, persons needing a special
   accommodation to participate in this proceeding should contact the Court ADA Coordinator,
   Room 470, 201 S.E. Sixth Street, Fort Lauderdale, FL 33301, no later than seven days prior to
   the proceeding. Telephone (954) 831-7721 for assistance; if hearing or voice impaired, call 711
   for assistance.
   EACH SHERIFF OF THE STATE:

         YOU ARE HEREBY COMMANDED to serve the Summons and a copy of the
   Complaint in this lawsuit on the above-named Defendants(s).

          Dated this               day of               , 2023.      DEC 20 2023



                                               Brenda D. Forman
                                               Clerk of the Circuit Court

                                               By:




                                                          BRENDA D. FOrkdIAN




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Filing # 188257475 E-Filed 12/18/2023 03:10:15 PM


                                                              IN THE COURT OF THE SEVENTEENTH
                                                              JUDICIAL CIRCUIT IN AND FOR
                                                              BRO WARD COUNTY, FLORIDA

        WHERE'S EILEEN, LLC, MARK J. FISCHER
        and EILEEN FISCHER,

                       Plaintiffs,

        V.                                                    CASE NO.:

        ACE AMERICAN INSURANCE COMPANY,

                       Defendant.
                                                        /


                                                  COMPLAINT

               COMES NOW, the Plaintiffs, WHERE'S EILEEN, LLC ("WHERE'S EILEEN"), MARK

        J. FISCHER ("MR. FISCHER") and EILEEN FISCHER ("MRS. FISCHER"), by and through

        their undersigned counsel, and pursuant to Fla. R. Civ. P. 1.050 files this Complaint against

        Defendant, ACE AMERICAN INSURANCE COMPANY ("ACE" or "Defendant") and in

        support thereof states the following:

                                                JURISDICTION

               1.      This Court has subject matter jurisdiction over this cause of action, as the matter in

        controversy exceeds $50,000.00, exclusive of interest, costs and attorneys' fees.

               2.      At all material times hereto, venue in this Court was and is proper pursuant to

        Florida Statute § 47.011 because the causes of action accrued and the majority of events occurred

        within Broward County, Florida, including, but not limited to at all material times: the property at

        issue hailed from here and the policy was delivered here.




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                                              THE PARTIES

          3.         At all times material hereto, WHERE'S EILEEN was and is a Florida limited

   liability company organized and existing in and by virtue of the laws of the State of Florida and is

   otherwise, sulfur/s.

          4.         MR. FISCHER is a manager of WHERE'S EILEEN and a Florida resident.

          5.         Upon information and belief, Defendant is an insurance company domiciled in and

   with its principal place of business in Philadelphia, Pennsylvania.

          6.         Defendant is engaged in the business of selling marine insurance policies in the

   State of Florida, and was actively, purposefully, willfully, intentionally, systematically and not in

   an isolated manner, conducting business in Broward County, Florida and is otherwise, sulfur/s.

          7.         Upon information and belief, Defendant is a subsidiary of the Chubb Group of

   Companies, a large multinational commercial, industrial, and personal property insurer.

          8.         At all material times, Defendant has been licensed in Florida to sell insurance.

                                  FACTS COMMON TO ALL COUNTS

      A. The Insurance Program

          9.         On or about June 10, 2019, WHERE'S EILEEN purchased marine insurance

   through its insurance broker for the vessel named "WHERE'S EILEEN", a 2019, 112' Ocean

   Alexander motor yacht, HIN No. 0AX11204B819 (the "Vessel").

          10.        On or about June 10, 2019, the Defendant issued Policy No. Y09879407 (the

   "Policy") covering the subject vessel. A copy of the Policy is attached hereto as Exhibit 1.

          11.        The Vessel was purchased by WHERE'S EILEEN for $13.5 million on or about

   December 17, 2018 from yacht broker MarineMax East, Inc. ("MM"), taking delivery on or about

   that same date.



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           12.    The effective dates of the Policy were June 10, 2019 to June 10, 2020. Id. at 7.

           13.    The Policy provides for payments for property damage to be made payable to

   WHERE'S EILEEN, LLC as a Named Insured (Id.) and BB&T—Titled Collateral. See Scheduled

   Vessel Endorsement, MA-2W801.

           14.     On or about January 3, 2020, the BB&T Note was paid by MR. and MRS.

   FISCHER, who then took back a Promissory Note from WHERE'S EILEEN, becoming Loss

   Payees under the Policy.

           15.    Under the terms of the Policy:



                        If a loss payee is named in this policy, any loss payable will
                        be paid to the loss payee.
   Ex.1 at 44.

   Thus, the payments for property damage are to be paid to WHERE'S EILEEN and MR. and MRS.

   FISCHER.

       B. The Insurance Coverages

           16.    The Policy covers loss or damage to the Vessel and pays up to its limits on a per

   "occurrence" basis. "Occurrence" is defined in the Policy as follows:


                 Occurrence means a sudden and unexpected loss or accident to which
                 this insurance applies occurring within the policy period. Continuous or
                 repeated exposure to substantially the same general conditions unless
                 excluded is considered to be one occurrence.

   Id. at A-2.

           17.    The coverage extends to "all risk of physical loss to your insured vessel, unless

   stated otherwise or an exclusion applies." Id. at E-1.




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           18.     "Property damage" is broadly defined as the "physical injury or destruction of

   tangible property." Id. at A-3.

           19.     "You" is defined in the Policy as "an entity shown on the Declarations Page, its

   members and their spouses who live with them..." Id. at A.3.

           20.     "Total Loss means the insured vessel shown on the Declaration Page is completely

   destroyed, lost or is a constructive total loss." Id. at A.3.

           21.     The Deductible shown on the Declaration Page is waived if a "total loss" occurs.

   Id. at E.1.

           22.     The Policy addresses "partial loss" as follows:


    Partial loss. If your insured vessel is partially damaged, we will pay the reasonable cost to
    repair or replace, whichever is less, the damaged parts of your insured vessel, without
    deduction for depreciation, up to the amount of property damage coverage for that insured
    vessel shown on the Declarations Page with labor and parts of like kind and quality. We will
    use original equipment manufacturer parts for repairs arising out of a covered loss to your
    insured vessel, unless the parts are no longer manufactured or available...
   Id. at E-2.

           23.     A vessel is considered a constructive total loss when the damage is reparable, but

   the costs of recovery and repair exceed the insured value of the vessel.

           24.     The Policy addresses "Property Damage Conditions" as follows:

    Your duties after a loss: If you have a loss this policy may cover, you must perform these
    duties:
    Notification. You must immediately notify us or your agent or broker of your loss...
    Protect property. You must take all reasonable means that are necessary to protect property
   Id. at 0-3.

           25.     The Policy provides "Extra Property Damage Coverage" as follows:




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    In addition to covering the physical loss to your insured vessel, we also provide other related
    coverages. These coverages are in addition to the amount of property damage coverage for
    your insured vessel unless stated otherwise or an exclusion applies. All deductibles apply to
    Extra Property Damage Coverages unless stated otherwise...

    Loss expense: As a covered loss, we will pay for all reasonable salvage expense charges you
    are obligated to pay and the necessary precautionary repairs made solely to protect your
    insured vessel from further loss or damage by a covered peril, up to 100% of the amount of
    property damage coverage shown on the Declaration Page for your insured vessel. There is
    no deducible for this coverage.

   Id. at E-2 and 3 (emphasis added).

            26.   The total amount of insurance for property damage to the Vessel in the Policy is

   $13.5 million. Id., Scheduled Vessel Endorsement at 1.

            27.   The Policy also has an additional coverage of $13.5 million for "Emergency

   Towing and Service." Id. at E-3.

            28.   The Emergency Towing and Service portion of the Policy applies no deductible.

   Id.

         C. The First Loss

            29.   On June 29, 2019, the Vessel suffered a partial flooding when a toilet's solenoid

   valve malfunctioned while docked in Baltimore, Maryland.

            30.   The damage included floor wood panel damage, carpet damage, wall fabric damage

   and veneer damage.

            31.    The flooding damage constitutes an insured "occurrence" under the Policy.

            32.   The flooding damage caused water damage to the Vessel's sky lounge.

         D. The Second Loss

            33.   On September 9, 2019, while the Vessel was headed to undergo repairs as a result

   of the flooding event and to be subsequently traded in, the Vessel experienced a direct lightning




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   strike while cruising at approximately 15 knots eight miles off the coastline of North Carolina,

   with MR. and MRS. FISCHER and the crew onboard.

            34.      The lightning strike constitutes an insured "occurrence" under the Policy.

            35.      The lightning struck the vessel's starboard VHF antenna, travelled through the

   fiberglass arch continuing through the hull, machinery, and wiring of the vessel and exited through

   the starboard propeller shaft.

            36.      The lightning strike caused extensive electrical damage throughout the vessel,

   including, but not limited to:

                     a. Causing the VHF coaxial cable to melt;

                     b. Causing some of the computer networking cables to melt;

                     c. Destroying the electronic control modules for the main diesel engines causing

                         the engines to shut down;

                     d. Causing an engine room fire on the starboard main engine that had to be

                         extinguished by the crew;

                     e. Damaging the starboard propeller; and

                     f. Resulting in the manufacturer, Alexander Marine International Co., Limited,

                         otherwise known as Ocean Alexander ("OA"),' voiding the Vessel's 3-year

                         warranty 265 days into the 3-year warranty period with over two and a half

                         years remaining

            37.      As a result of the lightning strike, the insured vessel was dead in the water in the

   Atlantic Ocean off the coast of North Carolina.




   1 There are various OA entities involved in this matter, including Alexander Marine International Co., Limited, the
   manufacturer of OA vessels, Alexander Marine International, the reported importer for OA yachts and East Coast
   Yacht Group, the authorized warranty providers for OA vessels; collectively identified as "OA".

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          38.     WHERE'S EILEEN immediately arranged for the Vessel to be towed to safe harbor

   at Fairlead Boatworks ("Fairlead") in Portsmouth, Virginia.

          39.     On or about October 3, 2019, the manufacturer of the Vessel confirmed that it was

   the only entity that could reasonably establish the extent of damage to the Vessel to ensure that it

   could be returned to its full pre-loss condition.

      E. The Claims

          40.     Immediately after the flooding claim, WHERE'S EILEEN notified ACE of the

   flooding damage.

          41.     ACE acknowledged notice of the flooding claim but did nothing further to

   investigate.

          42.     Despite promising to pay for the flooding damage, ACE has not done so.

          43.     Immediately after the lightning strike, WHERE'S EILEEN notified ACE of the

   lightning damage to the Vessel.

          44.     ACE acknowledged the notice of loss for the lightning strike claim and on

   September 12, 2019, ACE confirmed it would make arrangements to have the Vessel towed from

   Fairlead to Fort Lauderdale for further investigation.

          45.     The Vessel could not remain at Fairlead for very long, as Fairlead anticipated

   receiving several government projects and already had pre-existing plans to renovate the facility,

   including maintenance to its Syncrolift track system.

          46.     Therefore, it was subsequently agreed with ACE that the Vessel would be hauled

   out at Fairlead, damages investigated there and then the Vessel would be placed back into the water

   and towed to Fort Lauderdale.




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              47.   ACE initially hired surveyor William Patterson to investigate the loss and to inspect

   and evaluate the extent of the loss.

              48.   WHERE'S EILEEN hired its own marine surveyor/project manager, Scott

   Armstrong, to oversee temporary and emergency services to inspect the damage, to provide initial

   assessment of the damage, and get estimates with respect to all emergency repairs and temporary

   repairs.

              49.   After William Patterson's initial inspection of the Vessel, he confirmed to agents

   of WHERE'S EILEEN that it was his opinion that the Vessel must be evaluated solely by OA and

   suggested that the Vessel was a constructive total loss.

              50.   Not happy with Mr. Patterson's findings, ACE retained another surveyor, Sarkis

   Keuleyan, to investigate the loss on its behalf.

              51.   On October 11, 2019, Mr. Keuleyan wrote an email message to ACE, suggesting

   various repairs to the electronic system had to be made to determine whether or not the system

   needed full replacement. This message was copied to the Captain of the Vessel. This email was

   forwarded to OA by WHERE'S EILEEN, seeking OA's confirmation that such recommendations

   are approved and that the repairs would not void the Vessel's warranty.

              52.   OA responded by confirming that "Ocean Alexander cannot and will not approve

   and/or endorse" any repair actions by ACE, as "[t]he [V]essel sustained very serious damage from

   the lightning strike." OA also confirmed that because of the lightning strike, the Vessel's warranty

   was void.

              53.   ACE was informed of the manufacturer's position on October 15, 2019.

              54.   On that same day, MR. FISCHER, on behalf of WHERE'S EILEEN, wrote a formal

   letter to ACE, expressing his concerns at the delay of ACE' s investigation into the loss. A month



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   after the loss, WHERE'S EILEEN incurred close to $100,000 in Vessel sue and labor expenses.

   MR. FISCHER asked ACE to directly pay some of WHERE'S EILEEN' s costs being incurred due

   to ACE's investigation. WHERE'S EILEEN demanded a phone conference on October 17, 2019

   to discuss further.

           55.       On October 17, 2019, a phone call was had between WHERE'S EILEEN and ACE.

   On that call, WHERE'S EILEEN and its agents expressed concerns that ACE' s investigation could

   cause another fire aboard the Vessel. Mr. Keuleyan, ACE' s surveyor confirmed that "there is never

   a guarantee nothing will happen." ACE' s representatives on the call refused to confirm that ACE

   would indemnify and hold the owner harmless in any subsequent loss related to its investigation,

   nor did it squarely address WHERE'S EILEEN'S concerns that the Vessel was a fire risk and

   would not confirm that another fire, due to ACE' s investigation, would be covered under the Policy

   for this claim.

           56.       Mr. Keuleyan began meeting with technicians for various repair companies to get

   estimates on what it would take to repair the Vessel.

           57.       On October 30, 2019, WHERE'S EILEEN, sent a letter to ACE confirming the

   October 17, 2019 telephone conference and specifically asked: "If another casualty should occur

   as a result of work carried out as a result of the above-referenced incident, will such second

   casualty be considered part of the original lightning strike claim?" ACE has never adequately

   responded to this inquiry, instead suggesting that it is a hypothetical question.

           58.       Because of ACE' s refusal to respond to the coverage question, the letter confirmed

   that WHERE'S EILEEN would require all of ACE' s contractors to sign a standard, industry-

   accepted release and provide copies of their insurance policies to ensure that they had adequate

   insurance coverage for the work they were intending to undertake. Subsequent to this, all of ACE' s



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   contractors were found to be underinsured, refused to sign any releases or otherwise guarantee that

   their work would not cause additional damage to the Vessel or the Fairlead facility, a shipyard that

   supports U.S. warships and other military craft.

          59.     On November 7, 2019, WHERE'S EILEEN, again wrote to ACE, seeking a

   response to the letter dated October 30, 2019.

          60.     By November 11, 2019, Mr. Keuleyan, on behalf of ACE, was obtaining quotes to

   relocate the Vessel to Lauderdale Marine Center in Fort Lauderdale.

          61.     On November 21, 2019, WHERE'S EILEEN again wrote to ACE, expressing

   concern of certain actions to be undertaken to the Vessel without the Vessel owner's approval.

   ACE failed to respond to the insured's concerns.

          62.     On November 26, 2019, ACE wrote to WHERE'S EILEEN, confirming that ACE

   was obtaining estimates to tow the Vessel to Fort Lauderdale. This is 78 days after the loss. ACE

   still did not confirm it would be paying the Vessel's yard storage fees nor confirm what expenses

   ACE would be covering under the Policy. ACE again failed to address the issue of the potential

   risk of additional casualties occurring during the attempted repair and powering up of the Vessel

   during ACE' s investigation.

          63.     In response to this letter, WHERE'S EILEEN wrote to ACE on December 4, 2019,

   advising that it would be safer to ship the Vessel on a larger shipping vessel, given that the Vessel

   was a dead ship, with no electrical power, with non-functional alarm systems, no navigation

   system, with non-functioning stabilizers and other equipment, causing it to roll and pitch in open

   seas and with no apparent plan to obtain a trip and tow survey. This December 4, 2019 letter again

   asked that ACE respond to WHERE'S EILEEN's letter dated October 30, 2019 on whether "if




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   another casualty should occur, will such second casualty be considered part of the original

   lightning strike claim?".

          64.     The December 4, 2019 letter also asked ACE if it "will be paying the salaries of

   crewmembers that will be attending the vessel [during the tow]" as sue and labor expenses. By this

   time, WHERE'S EILEEN incurred over $194,000 in sue and labor expenses and urged ACE to be

   mindful of WHERE'S EILEEN' s continued burden in financing ACE' s claim investigation.

          65.     On or about December 10, 2019, Fairlead advised that ACE had not paid the

   boatyard's storage fees, which began to strain the relationship between Fairlead and WHERE'S

   EILEEN. The following morning, ACE was informed of this problem and WHERE'S EILEEN

   demanded confirmation that ACE: a) was paying Fairlead's invoices; b) was paying other sue and

   labor costs incurred by WHERE'S EILEEN; c) obtained the releases signed by the contractors

   hired by ACE to conduct its investigation; d) obtained the insurance policies for the contractors

   doing work on the Vessel; e) had finalized its plans for the move of the Vessel to Fort Lauderdale;

   and f) was paying the salaries of crewmembers required to be aboard the Vessel as a sue and labor

   expense if it was to be towed.

          66.     On December 11, 2019, ACE advised that it changed its mind and now wanted to

   undertake its investigation at Fairlead. This is 93 days after the loss and months after ACE was

   reportedly obtaining estimates for the Vessel to be towed to Fort Lauderdale. ACE acknowledged

   WHERE'S EILEEN's request for its vendors to sign releases but also advised that it would

   "revisit" the request "in due course." Meanwhile, WHERE'S EILEEN continued to incur

   additional sue and labor costs associated with ACE' s purported investigation.

          67.     On December 12, 2019, Mr. Armstrong advised Mr. Keuleyan that the Vessel

   needed to be moved out of Fairlead, as the Vessel was only supposed to be there temporarily.



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          68.     On that same date, WHERE'S EILEEN communicated with ACE, stressing the

   concern at the continued delay in the tow of the Vessel and reiterating WHERE'S EILEEN' s

   mounting sue and labor costs caused by ACE' s dragging its feet in its investigation. WHERE'S

   EILEEN proposed that ACE accept an abandonment of the Vessel in return for payment of

   WHERE'S EILEEN' s losses. ACE ultimately failed to respond to the proposal.

          69.     ACE finally proposed to get a tow arranged for the Vessel in late February 2020

   and suggested certain repairs to the Vessel to begin at Fairlead. Mr. Armstrong, on behalf of

   WHERE'S EILEEN, agreed to proceed accordingly, and ACE was notified of this on January 23,

   2020. WHERE'S EILEEN, again reminded ACE that all vendors much sign a release before

   performing work on the Vessel and provide their insurance information for consideration.

          70.     However, ACE did not inform their vendors of the need for insurance information

   or the need for the contractors to sign a release until late January 2020, about 90 days after

   WHERE'S EILEEN advised ACE such documentation would be required, due to its refusal to

   confirm coverage should anything occur as a result of ACE' s contractors investigating the loss on

   the Vessel.

          71.     WHERE'S EILEEN sent another letter to ACE on February 12, 2020, requesting

   copies of the proposed towing contracts for WHERE'S EILEEN' s review, given another 63 days

   had passed since Mr. Armstrong again advised ACE the Vessel had to be towed out of Fairlead.

          72.     WHERE'S EILEEN received a copy of a proposed tow contract on February 13,

   2020 and made extensive comments on the propriety of the contract to ACE the following morning.

   In response, ACE suggested the Vessel remain at Fairlead and remained silent as to the costs

   incurred by WHERE'S EILEEN since the inception of ACE's purported investigation, with the

   Vessel continuing to be laid up and incurring costs with no end in sight.



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          73.     Frustrated with ACE' s continued delays, WHERE'S EILEEN began to evaluate its

   options to "stop the bleeding" on expenses it was incurring with the Vessel. WHERE'S EILEEN

   investigated whether it could trade in the Vessel in its damaged condition for another, undamaged

   vessel. In response, MM advised MR. and MRS. FISCHER in a letter dated February 28, 2020

   that it would be unable to take in the Vessel given the need for "extensive repairs and the impact

   of the associated disclosure letter to a new buyer." See MM letter attached hereto as Exhibit 2.

          74.     On March 2, 2020, WHERE'S EILEEN received a letter from OA advising the

   entire electrical system for the Vessel must be replaced and to do otherwise would leave the Vessel

   in an unsafe condition. See OA letter attached hereto as Exhibit 3. This letter was forwarded to

   ACE.

          75.     By March 25, 2020, ACE pivots again and begins to look at alternative yards, given

   Fairlead again demands the Vessel be removed from their yard.

          76.     In this letter, ACE also sought an Examination Under Oath ("EUO") from "the

   person with the most knowledge of the subject incident and the alleged damage caused by the

   referenced lightning strike." WHERE'S EILEEN quickly responded to this request, asking that

   ACE coordinate this as soon as possible and to arrange for a remote EUO, given the COVID-19

   situation. ACE never contacted WHERE'S EILEEN to arrange the requested EUO.

          77.     On April 14, 2020, Mr. Sarkis wrote to Mr. Armstrong, proposing bid terms for

   towing the Vessel to Jarrett Bay in North Carolina, making clear that ACE "has not at this time

   taken any position with respect to towing the vessel to Jarrett Bay." This is 214 days after ACE

   informed WHERE'S EILEEN it was making arrangements to tow the Vessel to Fort Lauderdale,

   not Jarrett Bay.




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          78.     On April 15, 2020, ACE issued a Notice of Non-Renewal of the Policy to

   WHERE'S EILEEN. In the Notice of Non-Renewal, ACE notes the flooding damage with notation

   "claim is open" and the lightning strike damage to the Vessel with the notation "claim is open".

   See Exhibit 4, ACE Notice of Non-Renewal of Insurance. This letter was received by WHERE'S

   EIILEEN on April 20, 2020.

          79.     Before receiving the Notice of Non-Renewal of Insurance, WHERE'S EILEEN

   again asked ACE to relocate the Vessel to Fort Lauderdale to ultimately haul out the Vessel to

   facilitate investigation into the Vessel's loss. ACE refused the request.

          80.     Due to ACE' s continued dithering, Fairlead's eviction of the Vessel from its facility

   and in an effort to advance a solution to have the Vessel repaired and now, the urgency of finding

   a solution as a result ACE' s Notice of Non-Renewal of Insurance, WHERE'S EILEEN incurred

   substantial costs in moving the Vessel to Fort Lauderdale.

          81.     WHERE'S EILEEN requested a routine extension of coverage of the Policy given

   the non-renewal and given it was attempting to obtain insurance coverage elsewhere. ACE refused

   to extend coverage, which required WHERE'S EILEEN to incur yet additional sue and labor costs,

   including but not limited to, hiring a third party to remain on board the Vessel and to insure it was

   adequately cared for.

          82.     After the Vessel arrived in Fort Lauderdale but before she could be hauled out of

   the water, the Policy lapsed and ACE again refused to extend coverage to allow haul out. No

   shipyard would agree to haul out the Vessel without insurance coverage in place.

          83.     ACE' s actions throughout presented WHERE'S EILEEN with a Hobson's choice:

   1) continue to carry the costs of the Vessel while ACE did nothing to advance its investigation,

   refused to respond to reasonable requests and stonewall a solution, while refusing to extend or



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   otherwise renew the Policy; or 2) sell the Vessel to stop the financial bleeding. Thus, on July 14,

   2020, after much work, expense and consternation, WHERE'S EILEEN managed to trade-in the

   Vessel for another vessel at a steep loss. As part of the trade-in of the Vessel, it was agreed that

   the buyer would document all reasonable costs incurred for the repairs to the Vessel directly related

   to the flooding and lightning strike claims.

          84.     As part of the trade-in agreement, it was also agreed that the Vessel would be

   delivered to OA in Taiwan for investigation and repair because: a) ACE' s expert, Bill Patterson,

   opined that "only the manufacturer can tell us what it will cost to fix this mess"; b) OA rejected

   any repairs proposed by WHERE'S EILEEN; c) OA had advised WHERE'S EILEEN that the

   Vessel was no longer under warranty; d) OA insisted numerous times that the repairs to the Vessel

   could not be undertaken locally and had to be undertaken in Taiwan; e) the Vessel had no insurance

   and thus, no yard in Fort Lauderdale would agree to haul her out, much less allow repair work to

   the Vessel on their property; f) OA's admonishment that the repairs had to be inspected and

   corrected by them or would risk the Vessel remaining in an unsafe condition for use by WHERE'S

   EILEEN or any future owner; and g) WHERE'S EILEEN'S very real concern that re-energizing

   the Vessel could be a fire hazard, given the fire to the starboard main engine and other Vessel

   components as a result of the lightning strike.

          85.     On or about August 12, 2020, the Vessel was loaded aboard M/V BBC MEKONG

   and shipped to Taiwan for evaluation by OA and if possible, repair.

          86.     Upon arrival at OA's facility, the Vessel began a process of evaluation and repair

   that was documented in detail by OA and sent to ACE by WHERE'S EILEEN.

          87.     The Vessel returned from OA's facility in Taiwan after over a year of repairs, which

   have been fully reported and documented to ACE.



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          88.     Since the Vessel has been returned to Fort Lauderdale and after the extensive

   repairs have been undertaken by OA, ACE has reinsured the Vessel for another owner, at

   significant expense to the Plaintiffs, including but not limited to the extensive sue and labor costs

   incurred by WHERE'S EILEEN, the shipping costs incurred to get the Vessel to Fort Lauderdale

   and ultimately to Taiwan, reselling the Vessel in its damaged condition at a steep loss to allow OA

   do what it needed to do to make the Vessel safe and putting the Vessel in a condition where it was

   acceptable to ACE to reinsure the Vessel for another owner.

          89.     ACE has paid $1,404,178.22 for WHERE'S EILEEN'S lightning strike claim, far

   short of the amount payable per the terms of the insurance Policy and the amount demanded.

          90.      The amount referenced in Paragraph the preceding reflects an interim payment

   towards the amount of the claim payable under the Policy.

          91.     ACE has paid WHERE'S EILEEN another $9,156.25 for reimbursement of the

   initial tow by Cape Henry Launch Service, Inc. after the lightning strike, but this check was

   returned to ACE by WHERE'S EILEEN, as ACE added the notation on the check "in Settlement

   of Towing Costs." No settlement has been reached between the parties and WHERE'S EILEEN

   does not waive its right to seek reimbursement of all towing costs. ACE has never replaced this

   check without a limitation notation. Thus, these towing costs remain due and owing to WHERE'S

   EILEEN by admission by ACE.

          92.     ACE has paid nothing for WHERE'S EILEEN'S documented flooding claim.

          93.     WHERE'S EILEEN's losses include the partial loss of the Vessel, sue and labor

   expenses and all damages related thereto.

          94.     As a result of the damage inflicted on the Vessel by the two claims, WHERE'S

   EILEEN, by trading in the Vessel for far less than the Vessel would have been worth repaired, has



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   incurred temporary and emergency expenses, towing costs, repair and replacement costs, extra

   expenses, and other losses, including consequential damages directly resulting from ACE's

   actions.

             95.    WHERE'S EILEEN has had to engage counsel to handle and bring its claims

   against ACE, incurring substantial sums in attorney's fees and costs as a result.

             96.    WHERE'S EILEEN fulfilled all conditions precedent and contractual obligations

   under the Policy.

             97.    Pre-suit notice was issued to ACE pursuant to Florida Statute § 627.70152 on or

   about October 6, 2023.

                            COUNT I — WHERE'S EILEEN CLAIM FOR
                                   BREACH OF CONTRACT

             98.    WHERE'S EILEEN repeats and re-alleges each and every allegation set forth in

   the section above titled "Jurisdiction, the Parties and Common Facts" as if set forth herein at length,

   and further alleges:

             99.    There was a valid contract between WHERE'S EILEEN and ACE by way of the

   Policy.

             100.   ACE breached its contract with WHERE'S EILEEN when it effectively denied full

   coverage for covered losses caused by the lightning strike.

             101.   ACE breached its contract with WHERE'S EILEEN when it said it was paying

   WHERE'S EILEEN for the flooding damage but has failed to do so.

             102.   As a direct result of ACE' s breach of its insurance contract, WHERE'S EILEEN

   has been damaged and suffered significant damages caused by ACE's: a) failure to pay the

   flooding damage claim at all; and b) improperly reducing the amounts to be paid to WHERE'S

   EILEEN for its lightning strike claim.


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          WHEREFORE, the Plaintiff, WHERE'S EILEEN, LLC prays for this Court to enter an

   award, in its favor, of compensatory damages for policy proceeds, attorney's fees pursuant to

   Florida Statute § 627.428 given the Policy was issued July 15, 2019, pre- and post-judgment

   interest, and such other and further relief as this Court may deem just and proper under the

   circumstances.

                        COUNT II— MR. AND MRS. FISCHER CLAIM FOR
                                  BREACH OF CONTRACT

          103.      MR. and MRS. FISCHER repeat and re-allege each and every allegation set forth

   in the section above titled "Jurisdiction, the Parties and Common Facts" as if set forth herein at

   length, and further alleges:

          104.      MR. and MRS. FISCHER have an insurable interest in the Vessel, as third-party

   beneficiaries to the Policy, as Loss Payees and omnibus insureds.

          105.      ACE breached the contract when it effectively failed to pay for covered losses

   caused by the flooding claim and underpaying the claim caused by the lightning strike.

          106.      As a direct result of ACE' s breach of its insurance contract, MR. and MRS.

   FISCHER have been damaged and continues to suffer significant damages caused by ACE's

   improper actions in failing to pay the flooding damages and failing to fully pay the lightning strike

   damages.

          WHEREFORE, the Plaintiffs, MR. and MRS. FISCHER pray for this Court to enter an

   award, in its favor, of compensatory damages for policy proceeds, consequential damages caused

   by ACE's improper denial of coverage, attorney's fees pursuant to Florida Statute § 627.428 given

   the Policy was issued July 15, 2019, pre and post-judgment interest, and such other and further

   relief as this Court may deem just and proper under the circumstances.




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                                        JURY DEMAND

          WHERE's EILEEN hereby demands a trial by jury for all issues so triable that are raised

   in this Complaint.

                                              Respectfully submitted,

                                              THE LAW OFFICES OF MICHELLE OTERO VALDES

                                               s/ Michelle Otero Valdes
                                              Michelle Otero Valdes, B.C.S.
                                              Florida Bar No. 14990
                                              2030 S. Douglas Road, Suite 117
                                              Coral Gables, Florida 33134
                                              Tel: (305) 377-3700
                                              Fax: (786) 580-4671
                                               E-mail : mov@miamimaritimelaw.co
                                                        admin@miamimaritimelaw.co
                                              Attorneys for Plaintiffs




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                              EXHIBIT
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                               Where's Eileen, LLC

                               534 Bontona Ave

                               Fort Lauderdale, FL 33301




MA-5T95                                                                         Y09879407
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CHUBB°
              Please retain the following important information for future reference.

                Thank you for insuring with Chubb Recreational Marine Insurance.



Your Policy Number        Y09879407
Your Agent                NOVAMAR INSURANCE GROUP INC
                          1549 RINGLING BLVD
                          SUITE 101
                          SARASOTA, FL 34236

                          Phone: 800-823-2798
Customer Service          Please contact your insurance agent shown above.
Reporting A Claim         You have two options for reporting a claim:
                          1) Contact your insurance agent shown above, or
                          2) Contact Chubb Marine Claims directly at: 877-375-7545
Paying Your Premium       You will receive an invoice in a separate mailing. When you receive your invoice
                          you have a variety of options for paying your premium:

                          1) Pay your premium securely on line by using an electronic check or a credit
                             card, or set up automatic electronic payments. Visit:
                             wvvw.chubb.com/paymybill to begin

                          2) In a hurry, call 800-682-4822, the automated pay by phone system accepts
                             electronic checks and most major credit cards

                          3) Pay by check using the payment stub and return envelope included with your
                              premium invoice. If you have misplaced your invoice or return envelope,
                              make your check payable to "Chubb" and include your policy number on your
                              check. Mail your payment to:
                             (Regular Payment)                    (Overnight Payments Only)
                          Chubb Personal Risk Services             Chubb Personal Risk Services
                          PO BOX 7247-0180                         Attn: Cash Unit
                          Philadelphia, PA 19170-0180              202 Halls MIII Rd
                                                                   Whitehouse Station, NJ 08889-1600


 Billing Inquiries         Please contact your insurance agent shown above or call Chubb directly at:
                           800482-4822

 Additional Information    To learn more about Chubb Recreational Marine Insurance products and
                           services and obtain valuable boating safety and loss prevention information,
                           please visit: www.chubb.com.




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CHUBB'




                             Chubb Producer Compensation Practices & Policies

All of the members of the Chubb Group of Insurance companies doing business in the United States (hereinafter
"Chubb") distribute their products through licensed insurance brokers and agents ("producers"). Detailed information
regarding the types of compensation paid by Chubb to producers on US insurance transactions is available under the
Producer Compensation link located at the bottom of the page at www.chubb.com, or by calling 1-866-588-9478.
Additional information may be available from your producer.


Thank you for choosing Chubb.




ALL-20887b (11/17)                                                                                        Page 1 of 1
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CHUBB'                                                      CHUBB GROUP
                                                         U.S. PRIVACY NOTICE




FACTS               WHAT DOES THE CHUBB GROUP DO WITH YOUR
                    PERSONAL INFORMATION?
                    Insurance companies choose how they share your personal information. Federal and state law gives
                    consumers the right to limit some but not all sharing. Federal and state law also requires us to tell you
    Why?            how we collect, share, and protect your personal information. Please read this notice carefully to
                    understand what we do.
                    The types of personal information we collect and share depend on the product or service you have with
                    us. This information can include:

                    •   Social Security number and payment history
   What?            •   insurance claim history and medical information
                    •   account transactions and credit scores

                    When you are no longer our customer, we continue to share information about you as described in this
                    notice.
                    All insurance companies need to share customers' personal information to run their everyday
                    business. In the section below, we list the reasons insurance companies can share their customers'
    How?            personal information; the reasons the Chubb Group chooses to share; and whether you can limit this
                    sharing.
     Reasons we can share your
                                                     Does Chubb share?                 Can you limit this sharing?
        personal information
For our everyday business purposes — such
as to process your transactions, maintain your                  Yes                                No
account(s), respond to court orders and legal
investigations, or report to credit bureaus
For our marketing purposes — to offer our                       Yes                                No
products and services to you
For joint marketing with other financial                        Yes                                No
companies
For our affiliates' everyday business                           Yes                                No
purposes — information about your
transactions and experiences
For our affiliates' everyday business                           No                            We don't share
purposes — information about your
creditworthiness
For our affiliates to market to you                             No                            We don't share
For nonaffiliates to market to you                              No                            We don't share
Questions?           Call 1-800-258-2930   or go to hthos://www2.Chubb.com/us-en/privacy.aspx




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Who is providing        The Chubb Group. A list of these companies is located at the end of this document.
this notice?
What we do
How does Chubb          To protect your personal information from unauthorized access and use, we use security
Group protect my        measures that comply with federal law. These measures include computer safeguards and
                        secured files and buildings.
personal
information?            We restrict access to personal information to our employees, affiliates' employees, or others
                        who need to know that information to service the account or to conduct our normal business
                        operations.
How does Chubb
Group collect my        We collect your personal information, for example, when you
personal                •   apply for insurance or pay insurance premiums
information?            •   file an insurance claim or provide account information
                        •   give us your contact information

                        We also collect your personal information from others, such as credit bureaus, affiliates, or
                        other companies.

Why can't I limit all   Federal law gives you the right to limit only
sharing?
                        •   sharing for affiliates' everyday business purposes — information about your
                            creditworthiness
                        •   affiliates from using your information to market to you
                        •   sharing for nonaffiliates to market to you

                        State laws and individual companies may give you additional rights to limit sharing. See
                        below for more on your rights under state law.
Definitions
Affiliates
                        Companies related by common ownership or control. They can be financial and nonfinancial
                        companies.

                        •   Our affiliates include those with a Chubb name and other companies, such as
                            Westchester Fire Insurance Company and Great Northern Insurance Company.

Nonaffiliates
                        Companies not related by common ownership or control. They can be financial and
                        nonfinancial companies.

                        •   Chubb does not share with nonaffiliates so they can market to you.

Joint Marketing
                        A formal agreement between nonaffiliated financial companies that together market financial
                        products or services to you.

                        •   Our joint marketing partners include categories of companies such as banks.




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Other important information
For Insurance Customers in AZ, CA, CT, GA, IL, MA, ME, MN, MT, NV, NC, NJ, OH, OR, and VA only: Under state
law, under certain circumstances, you have the right see the personal information about you that we have on file. To see
your information, write Chubb Group Attention: Privacy Inquiries, 202 Hall's Mill Road, P.O. Box 1600, Whitehouse
Station, NJ 08889-1600. Chubb may charge a reasonable fee to cover the costs of providing this information. If you
think any of the information is not accurate, you may write us. We will let you know what actions we take. If you do not
agree with our actions, you may send us a statement. If you want a full description of privacy rights that we will protect in
accordance with the law in your home state, please contact us and we will provide it. We may disclose information to
certain third parties, such as law enforcement officers, without your permission.

For Nevada residents only: We may contact our existing customers by telephone to offer additional insurance products
that we believe may be of interest to you. Under state law, you have the right to opt out of these calls by adding your
name to our internal do-not-call list. To opt out of these calls, or for more information about your opt out rights, please
contact our customer service department. You can reach us by calling 1-800-258-2930, emailing us at
privacyinquiries@Chubb.com, or writing to Chubb Group, Attention: Privacy Inquiries, 202 Hall's Mill Road, P.O. Box
1600, Whitehouse Station, NJ 08889-1600. You are being provided this notice under Nevada state law. In addition to
contacting Chubb, Nevada residents can contact the Nevada Attorney General for more information about your opt out
rights by calling 775-684-1100, emailing bcpinfo@ag.state.nv.us, or by writing to: Office of the Attorney General, Nevada
Department of Justice, Bureau of Consumer Protection: 100 North Carson Street, Carson City, NV 89701.

For Vermont residents only: Under state law, we will not share information about your creditworthiness within our
corporate family except with your authorization or consent, but we may share information about our transactions or
experiences with you within our corporate family without your consent.


Chubb Group Companies Providing This Notice
This notice is being provided by the following Chubb Group companies to their customers located in the United States:
ACE American Insurance Company, ACE Capital Title Reinsurance Company, ACE Fire Underwriters Insurance
Company, ACE Insurance Company of the Midwest, ACE Life Insurance Company, ACE Property and Casualty
Insurance Company, Agri General Insurance Company, Atlantic Employers Insurance Company, Bankers Standard Fire
and Marine Company, Bankers Standard Insurance Company, Century Indemnity Company, Chubb Custom Insurance
Company, Chubb Indemnity Insurance Company, Chubb Insurance Company of New Jersey, Chubb Lloyds Insurance
Company of Texas, Chubb National Insurance Company, Executive Risk Indemnity Inc., Executive Risk Specialty
Insurance Company, Federal Insurance Company, Great Northern Insurance Company, Illinois Union Insurance
Company, Indemnity Insurance Company of North America, Insurance Company of North America, Pacific Employers
Insurance Company, Pacific Indemnity Company, Penn Millers Insurance Company, Vigilant Insurance Company,
Westchester Fire Insurance Company and Westchester Surplus Lines Insurance Company.




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Masterpiece                                                                               CHUBB
Policy
Policy Number:               Y09879407                                      NEW
                                                                             Agency Code, Name & Address
                                                                             Z02074
                                                                             NOVAMAR INSURANCE GROUP INC
                                                                             1549 RINGLING BLVD
                                                                             SUITE 101
                                                                             SARASOTA, FL 34236

This is your Masterpiece Policy's Declarations Page. Please read carefully. It gives you important facts about your
coverage.
The Company Providing This Insurance:
                                                      ACE AMERICAN INSURANCE COMPANY
                                                     436 Walnut Street, P.O. Box 1000
                                                           Phila, PA 19106-3703
                                                                           (NAME)
The Named Insured Under This Policy:
                                                              Where's Eileen, LLC

Address:                                                        534 Bontona Ave
                                                           Fort Lauderdale, FL 33301
                                                                  (NAME)
The Vessel Covered by This Policy:
        Refer to Scheduled Vessel Endorsement (MA-2W801) for Individual Vessel Information
 (YEAR BUILT) (LENGTH)                    (MAKE)                                    (MODEL)                  (DOC. OR HULL IDENT. NO)



This policy will take effect on    6/10/2019        and end on      6/10/2020
It will begin and end at 12:01 A.M. standard time, at the place where this policy was issued.
In return for the "Total Premium," listed below, we agree to provide the insurance coverages for which a premium is shown in the chart
below.
COVERAGE PROVIDED ---
                                                            AMOUNT OF                         DEDUCTIBLE            PREMIUM
       COVERAGES                                            INSURANCE                          AMOUNT
           Property Damage                           $        See MA-2W801           $                        $           66,700
           Windstorm Deductible                                                      $        See MA-2W801    $
           Emergency Towing and Service              $       See MA-2W801            $                        $                0
           Liability Coverage                        $       See MA-2W801            $                        $           10,005
           Medical Payments                          $       See MA-2W801            $                        $                0
           Uninsured Boater                          $       See MA-2W801            $                        $                0
           Trailer                                   $       See MA-2W801            $                        $                0
           Personal Property                         $       See M1-2W801            $                        $                0
           Premium Bearing Endt(s)                                                                            $            5,145

                                                                                         TOTAL PREMIUM                    81,850
LIMITS ON USE: See Navigation Warranty                   See MA-2W801
SUMMER MOORING LOCATION:See MA-2W801

APPLICABLE FORMS AND ENDORSEMENTS: SEE FORMS SCHEDULE ON PAGE 2

LOSS PAYEE:              We will make payments for Property Damage losses to the Insured and
                                                             See MA-2W801




                            Executed this date      7/15/2019          Agent



                                                              7/15/2019
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                                                    FORMS SCHEDULE

POLICY FORMS AND ENDORSEMENTS (Applicable to all vessels)

Form Number         Form Edition Date         Form Name
*MA-35598b          11/2017                   Policyholder Notice - Direct Bill
*ALL-20887b         11/2017                   Chubb Producer Compensation Practices & Policies
*MA-10391h          10/2016                   Chubb Group U.S. Privacy Notice
*MA 37296           06/2012                   Insurance Identification Card

*Denotes form is included with Insured copy

VESSEL FORMS AND ENDORSEMENTS (Refer to Scheduled Vessel End. MA-2W801 for forms
                                        applicable to each specific vessel)

Form Number         Form Edition Date         Form Name
*RM100000           11/2017                   Introductions and Definitions
*RM140000           11/2017                   Yacht Select Property Damage Coverage
*RM150000           11/2017                   Yacht Preference Property Damage Coverage
*RM190000           11/2017                   Yacht Select Liability Coverage
*RM200000           11/2017                   Yacht Preference Liability Coverage
*RM210000           11/2017                   Medical Payments Coverage
*RM220000           11/2017                   Uninsured Boaters Protection
*RM230000           11/2017                   General Policy Exclusions
*RM240000           11/2017                   Policy Terms
*MA-2W801           03/2019                   Scheduled Vessel Endorsement
*MA-7W74a           05/1997                   Manuscript Navigation Warranty
*MA-16119d          11/2017                   Florida Amendatory Endorsement
*RM-5000            11/2017                   Special Windstorm Deductible Endorsement
*RM-5007            11/2017                    Captain on File and Special No-Captain Deductible
*RM -5008           11/2017                    Crew Members Endorsement
*CC-1E15a           11/2017                    TOWING ENDORSEMENT(RMM-5028)
*MA-9S87b           11/2017                    Hull War Risk and Strike Clause Endorsement
*MA-9S88a           11/2017                    War Risk Liability Endorsement
*MA-9S91g           11/2017                    War Risk Trading Warranties

*Denotes form is included with Insured copy




                                                         7/15/2019
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Insurance Identification Card(s) attached for your convenience.

                    INSURANCE IDENTIFICATION CARD                                               INSURANCE IDENTIFICATION CARD
 INSURER: ?.CZ AMERICAN INSURANCE COMPANY                                    INSURER: ACE AMERICAN INSURANCE COMPANY
 POLICY NUMBER: 109879407           NAIC CODE: 22667                         POLICY NUMBER:   109879407         NAIC CODE: 22667
 EFFECTIVE DATE: 6/10/2019    EXPIRATION DATE: 6 /10/2020                    EFFECTIVE DATE: 4/10/2019    EXPIRATION DATE: 6/10/2020

 WATERCRAFT: 2019, 112' OCEAN AIMCANDIM                                      WATERCRAFT: 2019, 36' BLACXWATER
 MODEL: 112 KY                                                               MODEL: 36
 HIN/DOC: 0AX112043819                                                       HIN/DOC: 8LE00043C819

 NAME AND ADDRESS OF INSURED:                                                NAME AND ADDRESS OF INSURED:
 Where'.        LLC                                                          Where ' s Eileen, LLC
 534 Bontona Ave                                                             534 Benton& Ave
 Fort Lauderdale, FL 33301                                                   Fort Lauderdale, FL 33301




 For Policy Service or Questions contact your agent:                         For Policy Service or Questions contact your agent:
 NOVAMAR INSURANCE GROUP INC                                                 NOVAMAR INSURANCE GROUP INC
 800-823-2798                                                                800-823-2798

 Claims: Contact your agent or Chubb Marine Claims         877 - 375 -7545   Claims: Contact your agent or Chubb Marine Claims      877 - 375 - 7545
 Chubb Recreational Marine Insurance   www,chubb,corn                        Chubb Recreations! Marine Insurance   www Out* corn


                   INSURANCE IDENTIFICATION CARD                                               INSURANCE IDENTIFICATION CARD
 INSURER: VOID                                                               INSURER: VOID
 POLICY NUMBER: VOID               NAIC CODE: VOID                           POLICY NUMBER: VOID               NAIC CODE: VOID
 EFFECTIVE DATE: VOID        EXPIRATION DATE: VOID                           EFFECTIVE DATE: VOID        EXPIRATION DATE: VOID

 WATERCRAFT: VOID                                                            WATERCRAFT: VOID
 MODEL: VOID                                                                 MODEL: VOID
 HIN/DOC: VOID                                                               HIN/DOC: VOID

 NAME AND ADDRESS OF INSURED:                                                NAME AND ADDRESS OF INSURED:
 VOID                                                                        VOID

 For Policy Service or Questions contact your agent:                         For Policy Service or Questions contact your agent:
 VOID                                                                        VOID
 VOID                                                                        VOID

  Claims: Contact your agent or Chubb Marine Claims        VOID              Claims: Contact your agent or Chubb Marine Claims      VOID
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MA-37296 (06/12)
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     masterpiece®                                                         Introduction and
                                                                          Definitions
CHUBB

    This is your Chubb Masterpiece Policy. Together with the Declarations and any Endorsements, it explains
    your coverages and other conditions of your insurance in detail.

    This policy is a contract between you and us. READ YOUR POLICY CAREFULLY and keep it in a safe
    place.


    Agreement

    We agree to provide the insurance described in this marine insurance policy in return for your premium,
    compliance with the policy conditions, and adherence to representations described in all correspondence,
    documentation, or information provided to us by you or your agent or broker.


    Definitions

    In this policy, we use words in their plain English meaning. Words with special meanings are defined in
    the part of the policy where they are used. Defined terms used throughout the policy are defined here:

    Bodily injury means physical bodily harm, including sickness or disease that results from it, and required
    care, loss of services, and resulting death.

     Constructive total loss means the salvage value (determined by us) plus the cost necessary to repair
     the insured vessel (with labor and parts of like kind and quality without deduction for depreciation) is
     equal to or greater than the property damage amount of insurance shown on the Declarations Page.

     Covered person means:
   • you or a family member; or
   • any person including a captain or a full time paid crew member using your insured vessel with permission
     from you or a family member. This does not include any person using or operating your insured vessel
     who is employed by a marina, boat repair yard, shipyard, yacht club, sales agency, boat service station or
     other similar organization.

     Crew member means any person employed by you or on your behalf to work aboard the insured vessel
     and who is acting in service to the insured vessel at the time of a covered loss or occurrence either as a
     paid captain or paid crew member. Crew member does not include an individual employed/hired by you
     solely for the purpose of doing maintenance service repair, inspections, or other work on board the
     insured vessel while it is only at anchor, moored, tied up at a dock, in a repair facility or during sea trials.

     Damages means the sum that is paid or is payable to satisfy a claim settled by us or resolved by judicial
     procedure or by a compromise we agree to in writing.

     Dinghy/tender means a small craft which is a part of the insured vessel's equipment, is used for the
     operation of the insured vessel, is typically carried on board the insured vessel, and is used only to
     service the insured vessel. The dinghy/tender is included as part of the value of the insured vessel.
     However, dinghy/tender does not mean personal watercraft.




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    Introduction and
    Definitions



    Definitions
    (continued)


    Essential document means any passport, birth certificate, paper, license, permit, title of ownership,
    guarantee or assurance, statement, certification, proof, or form that a governing jurisdiction requires from
    a covered person or your guest as a prerequisite to continue the voyage or visit ashore.

    Family member means your relative who lives with you, or any other person under 25 in your care or
    your relative's care who lives with you, or a student under 25 in your care temporarily away at school who
    is a resident of your household.

    Fine arts means private collections of paintings, etchings, pictures, tapestries, art glass windows, other
    bona fide works of art (for example, statues, antiques, rare books and manuscripts, porcelains, rare glass,
    crystal), and items of historical value or artistic merit.

    Fishing tackle means fishing equipment normally carried on board your insured vessel including rods,
    reels, lures, spears and tackle boxes.

    Insured vessel means any vessel you own, for which an amount of physical damage or liability coverage
    is shown on the Declarations Page, its hull, sails, machinery, contents, fixtures, furniture, dinghy/tenders,
    and equipment used for its operation and routine maintenance which would normally be included with the
    vessel when sold.

    Mold means fungi, mold, mold spores, mycotoxins, and the scents and other byproducts of any of these.

    Navigation and communication equipment means systems used exclusively on board the insured
    vessel that enable the insured vessel to determine its position, speed and/or direction to navigate safely,
    or communicate with other vessels or persons, but excluding electronic engine control systems.

    Occurrence means a sudden and unexpected loss or accident to which this insurance applies occurring
    within the policy period. Continuous or repeated exposure to substantially the same general conditions
    unless excluded is considered to be one occurrence.

    Personal property means any items normally worn or carried by a covered person, guest or your crew,
    while on board your insured vessel, including sports equipment, clothing, drones used exclusively for your
    own personal use, computer hardware kept and used exclusively on board your insured vessel for your
    own personal use, and other personal property, not otherwise excluded. It does not include valuable
    papers, including essential documents, legal tender, bank notes, stored value cards, bullion, gold, silver,
    platinum, tokens, checks, credit, debit or bank cards, passports, jewelry, watches, furs, fine arts, firearms,
    contents or fixtures.

    Personal watercraft means a vessel powered by internal water jet propulsion designed to be operated
    by a person sitting, standing, or kneeling on it rather than within the confines of a hull.

    Policy means your Masterpiece Policy, including the Declarations Page, endorsements and application.
    The Declarations Page includes the Scheduled Vessel Endorsement when attached to this policy.

    Pollution means property damage, cleanup costs or containment expenses imposed by any federal,
    state, or local statute or regulation or reasonably incurred by you arising out of the sudden and accidental
    discharge, spillage, leakage or emission of waste, oil, fuel, petroleum or chemical products.



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   Introduction and
   Definitions

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    Definitions
    (continued)


    Property damage means physical injury to or destruction of tangible property. Tangible property does not
    include legal tender, bank notes, stored value cards, tokens, checks, credit, debit or bank cards, bank
    deposits, stocks, bonds, deeds, mortgages, or other instruments of a similar nature.

    Spouse means a partner in marriage or a partner in a civil union recognized under state law.

    Total loss means the insured vessel shown on the Declarations Page is completely destroyed, lost or is
    a constructive total loss. An insured vessel is considered lost when it is not found within 30 days.

    Tropical depression, tropical storm and hurricane mean weather systems so designated by the
    National Weather Service and/or the National Hurricane Center.

    We, our and us means the insurance company named on the Declarations Page.

    You means:
  • an entity shown on the Declarations Page, its members and their spouses who live with them; or
  • a person named on the Declarations Page, and a spouse who lives with that person.




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     MaySterPieCe®                                                                   Yacht Selects. Property
                                                                                     Damage Coverage
CHUBB

    This part of your Masterpiece Policy provides you with coverage against all risk of physical loss to your
    insured vessel, unless stated otherwise or an exclusion applies.

    This coverage applies to a loss occurring on land or within the Navigational Limits shown in the
    Navigation Warranty attached to this policy.


    Payment for a Loss

    Amount of coverage
    The amount of coverage for property damage for your insured vessel is shown on the Declarations Page.

    Deductible
     A deductible is that amount we will subtract from the amount of a covered loss we pay. Either the property
     damage deductible shown on the Declarations Page or a special deductible applies to the covered loss,
     unless stated otherwise. We will waive the property damage deductible shown on the Declarations Page
     only if:
   • a total loss occurs; or
   • a partial loss occurs which is caused in whole or in part by another vessel liable for the damage.
     If a special deductible applies to a covered loss, it will not be waived.

     If a covered loss involves a vessel covered under this part of this policy and a structure or a structure and
     contents, covered under any other policy issued by a direct or indirect subsidiary of Chubb Limited, and
     deductibles would apply to these vessels and homeowners losses in the same covered loss, we will only
     apply the greatest deductible once to the loss if it is to your benefit. This provision does not apply to
     covered losses subject to any Home and Contents special deductibles or any other special deductibles
     under this policy.

     A deductible does not apply for a covered loss only to the dinghy/tender to your insured vessel.

     For each loss only to the electronic navigational equipment for your insured vessel, a $250 deductible
     applies. Electronic navigational equipment does not include electronic engine management systems
     equipment.

     Payment basis
     For a covered loss to your insured vessel, we will pay as follows:

     Total loss. If your insured vessel is totally destroyed, lost or is a constructive total loss, and is:
   • three years of age or less and has an amount of property damage coverage shown on the Declarations
     Page of less than $1,000,000 we will pay the replacement cost up to 120% of the property damage
     amount shown on the Declarations Page.
   • greater than three years of age or has an amount of property damage coverage shown on the
     Declarations Page of $1,000,000 or greater, we will pay the amount of property damage coverage shown
     on the Declarations Page.

     We will reduce our payment by any amount paid for a previous loss to that insured vessel if the damage
     was not repaired. If you choose not to replace your insured vessel, we will only pay up to the amount of
     property damage coverage shown on the Declarations Page for your insured vessel.



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    Yacht Selectsm Property
    Damage Coverage


    Payment for a Loss
    (continued)


    If a replacement for the insured vessel cannot be found within 60 days, we will pay the amount of property
    damage coverage shown on the Declarations Page for your insured vessel.

    "Replacement cost" means the amount required at the time of loss to replace your insured vessel with a
    vessel of like design, and materials and workmanship of comparable kind and quality which existed at the
    time of loss.

    When we pay for a total or constructive total loss, we reserve the right to keep the remains of your
    insured vessel or its proceeds.

     Partial loss. If your insured vessel is partially damaged, we will pay the reasonable cost to repair or
     replace, whichever is less, the damaged parts of your insured vessel, without deduction for depreciation,
     up to the amount of property damage coverage for that insured vessel shown on the Declarations Page
     with labor and parts of like kind and quality. We will use original equipment manufacturer parts for repairs
     arising out of a covered loss to your insured vessel, unless the parts are no longer manufactured or
     available. However, we will not pay more than the actual cash value, which is defined herein as
     replacement cost less depreciation, at the time of a loss for the following:
   • sails, dodgers, protective coverings inclusive of all-weather bridge and cockpit enclosures, carpeting,
     upholstery, cushions and fabrics which are over three years of age; or
   • outboard motors or outdrive units which are over seven years of age.
     The depreciation will not be greater than 80% of the replacement cost of that item.


     Yacht Select Property Damage Coverage

     In Yacht Select Property Damage Coverage, a "covered loss" includes all risk of physical loss to your
     insured vessel or other property covered under this part of your Masterpiece Policy, unless stated
     otherwise or an exclusion applies.


     Extra Property Damage Coverages

     In addition to covering the physical loss to your insured vessel, we also provide other related coverages.
     These coverages are in addition to the amount of property damage coverage for your insured vessel
     unless stated otherwise or an exclusion applies. All deductibles apply to Extra Property Damage
     Coverages unless stated otherwise.

     Personal property
     We cover personal property, except fishing tackle, of a covered person and that of your guests and your
     crew while it is on board your insured vessel. But we do not cover any loss caused by changes in
     temperature or humidity or if such personal property is lost or misplaced.




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   Yacht Selects,. Property
   Damage Coverage
CHUBB'

   Extra Property Damage Coverages
   (continued)


   We will pay the lesser of the reasonable cost to repair or replace covered personal property with like kind
   and quality, without deduction for depreciation, up to the amount of coverage for personal property shown
   on the Declarations Page for each covered loss. There is no deductible for this coverage.

    Fishing tackle
    We cover fishing tackle of a covered person and that of your guests and your crew while they are on
    board your insured vessel. But we do not cover any loss caused by changes in temperature or humidity or
    if such fishing tackle is lost or misplaced. We will pay up to $25,000 for fishing tackle, not to exceed
    $1,000 for any single rod or single reel, for the reasonable cost to repair or replace fishing tackle with like
    kind and quality. A $500 deductible applies.

    Precautionary measures
    We will pay up to $2,500 for the reasonable direct costs you incur to haul, fuel, or dock your insured
    vessel, including the direct costs for the acquisition of lines, anchors and additional equipment to secure
    the insured vessel, because your insured vessel is endangered by a covered peril. However, in the event
    of a tropical depression, tropical storm or hurricane, the National Weather Service must issue a watch or
    warning for the area where your insured vessel is located. There is no deductible for this coverage.

    Loss expense
    After a covered loss, we will pay for all reasonable salvage expense charges you are obligated to pay and
    the necessary temporary precautionary repairs made solely to protect your insured vessel from further
    loss or damage by a covered peril, up to 100% of the amount of property damage coverage shown on the
    Declarations Page for your insured vessel. There is no deductible for this coverage.

    Additional living expenses
    We will pay up to $2,500 for any reasonable additional living expenses you may incur in minimizing a
    covered loss and preventing further loss or damage by a covered peril. There is no deductible for this
    coverage.

    Trailers
    We cover your trailer used with your insured vessel. For a covered loss to this trailer, we will pay the
    lesser of the reasonable cost to repair or replace the covered trailer with like kind and quality, without
    deduction for depreciation, up to the amount of coverage shown on the Declarations Page for trailers. The
    trailer deductible shown on the Declarations Page applies.

    Emergency towing and service
    We will pay up to the amount of property damage coverage shown on the Declarations Page for your
    insured vessel for all reasonable costs incurred by you for the following emergency towing and service to
    your insured vessel and its trailer:
  • towing to the nearest marina, service station or other location where repairs can be made;
  • delivery of necessary fuel or repair parts excluding the cost of the delivered items; and
  • the cost of labor done at the site of breakdown.

    This coverage applies only if your insured vessel or trailer is disabled for any reason other than a covered
    loss. There is no deductible for this coverage.



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    Yacht Selectsm Property
    Damage Coverage

    Extra Property Damage Coverages
    (continued)


    Newly acquired watercraft
    We cover any watercraft you acquire during the policy period up to its verifiable purchase price or actual
    cash value, whichever is less, for up to 30 days after you acquire it. But you must request coverage for
    the newly acquired watercraft within the 30 days after you acquire it, we must agree to insure it, and you
    must pay the premium from the date acquired. Our payment is subject to a $500 deductible.

    Temporary substitute watercraft
     If your insured vessel is out of commission due to a covered partial loss and has not been repaired within
     72 hours from the date of loss, we will pay up to $10,000 to charter a temporary substitute watercraft.
     The temporary substitute watercraft must be of similar type and of equal or lesser value and length. But
     we do not cover temporary substitute watercraft if:
   • the covered loss resulted in a total loss of your insured vessel; or
   • the temporary substitute watercraft is being used for any purpose other than replacing your insured
     vessel while it is out of commission.

     Bottom inspection
     We will pay the reasonable cost to inspect the bottom of your insured vessel after grounding, stranding or
     striking a submerged object. There is no deductible for this coverage.

     Tournament fees
     We will pay up to $5,000 or the amount of your prepaid tournament entry fee, whichever is less, if your
     insured vessel was registered to participate in a fishing tournament and cannot because of a covered
     loss. The maximum amount we will pay for each covered loss is $5,000 or the amount of your prepaid
     tournament entry fee, whichever is less, regardless of the number of tournaments for which you are
     registered. There is no deductible for this coverage.

     Essential documents
     We will pay the reasonable administrative expenses that a covered person, crew member, or your guest
     incurs to replace an essential document or obtain certified copies of an essential document up to $2,500
     for each covered loss in order to continue the voyage or visit ashore, unless another exclusion applies.
     There is no deductible for this coverage.

     Fine arts
     For a covered loss to your fine arts while on board your insured vessel, we will pay up to the amount
     required to repair or replace your fine arts, whichever is less, up to $2,500. We will not deduct for
     depreciation. There is no deductible for this coverage.

     Boat show and demonstration
     We cover physical damage to your insured vessel while it is being used for exhibition at a boat show or
     when it is being navigated by a covered person for demonstration purposes.

     Pet injury
     If one or more of your domestic pets, which is not primarily owned or kept for business use, is injured or
     dies as a result of a covered loss to your insured vessel, we will pay for the necessary, reasonable
     expenses you incur to treat, euthanize, cremate, bury, and replace these pets, up to $2,000 regardless of
     the number of pets involved in the covered loss. There is no deductible for this coverage.




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    Yacht Selects,. Property
    Damage Coverage
CHUBB'


    Exclusions

    In addition to the exclusions under General Policy Exclusions, the following exclusions apply to your
    Yacht Select Property Damage Coverage, including the Extra Property Damage Coverages, unless
    stated otherwise.

    The words "caused by" mean any loss that is contributed to, made worse by, or in any way results from
    that peril.

    Gradual or sudden loss. We do not cover any loss caused by wear and tear, gradual deterioration,
    galvanic corrosion, lack of maintenance, fiberglass osmosis, blistering or marine life. However, we do
    insure ensuing covered loss due to fire, explosion, sinking, demasting, collision or stranding unless
    another exclusion applies. We also provide coverage for damage to engines, generators or pumps due to
    the attachment of zebra mussels provided the insured vessel is hauled and cleaned annually.

    Misappropriation. We do not cover any loss caused by the taking or other misappropriation of property
    by or directed by a person or entity named on the Declarations Page, that person's spouse, a family
    member, or a person who lives with you. This exclusion does not apply to the taking or other
    misappropriation of property by your captain, crew, or guests, unless the misappropriation was directed
    by a person or entity named on the Declarations Page, that person's spouse, a family member, or a
    person who lives with you.

    Ocean cargo transit. We do not cover any loss to your insured vessel that results while your insured
    vessel is being loaded, unloaded or transported aboard an ocean cargo vessel, unless we agree in
    advance in writing to cover such transport.

    Neglect. We do not cover any loss caused by your failure to use all reasonable means to protect property
    before, at, or after the time of a loss.

    Confiscation. We do not cover any loss caused by the confiscation, destruction or seizure of property by
    any government or public authority.

    Provisions. We do not cover any loss to the provisions of your insured vessel.

    Diminution in value. We do not provide coverage for diminution in value. "Diminution in value" means
    the actual or perceived loss in market or resale value which results from a covered loss.




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                                                                              Yacht Preference'
     MasterPiece®                                                             Property Damage Coverage
CHUBB

    This part of your Masterpiece Policy provides you with coverage against all risk of physical loss to your
    insured vessel, unless stated otherwise or an exclusion applies.

    This coverage applies to a loss occurring on land or within the Navigational Limits shown in the
    Navigation Warranty attached to this policy.


    Payment for a Loss

    Amount of coverage
    The amount of coverage for property damage for your insured vessel is shown on the Declarations Page.

    Deductible
     A deductible is that amount we will subtract from the amount of a covered loss we pay. Either the property
     damage deductible shown on the Declarations Page or a special deductible applies to the covered loss,
     unless stated otherwise. We will waive the property damage deductible shown on the Declarations Page
     only if:
   • a total loss occurs; or
   • a partial loss occurs which is caused in whole or in part by another vessel liable for the damage.
     If a special deductible applies to a covered loss, it will not be waived.

     If a covered loss involves a vessel covered under this part of this policy and a structure or a structure and
     contents, covered under any other policy issued by a direct or indirect subsidiary of Chubb Limited, and
     deductibles would apply to these vessels and homeowners losses in the same covered loss, we will only
     apply the greatest deductible once to the loss if it is to your benefit. This provision does not apply to
     covered losses subject to any Home and Contents special deductibles or any other special deductibles
     under this policy.

     A deductible does not apply for a covered loss only to the dinghy/tender to your insured vessel.

     For each loss only to the electronic navigational equipment for your insured vessel, no deductible applies.
     Electronic navigational equipment does not include electronic engine management systems equipment.

     Payment basis
     For a covered loss to your insured vessel, we will pay as follows:

     Total loss. If your insured vessel is totally destroyed, lost or is a constructive total loss, we will pay the
     amount of property damage coverage shown on the Declarations Page. But we will reduce our payment
     by any amount paid for a previous loss to that insured vessel if the damage was not repaired.

     When we pay for a total or constructive total loss, we reserve the right to keep the remains of your
     insured vessel or its proceeds.




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    Yacht Preference'
    Property Damage Coverage

    Payment for a Loss
    (continued)



     Partial loss. If your insured vessel is partially damaged, we will pay the reasonable cost to repair or
     replace, whichever is less, the damaged parts of your insured vessel, without deduction for depreciation,
     up to the amount of property damage coverage for that insured vessel shown on the Declarations Page
     with labor and parts of like kind and quality. We will use original equipment manufacturer parts for repairs
     arising out of a covered loss to your insured vessel, unless the parts are no longer manufactured or
     available. However, we will not pay more than the actual cash value, which is defined herein as
     replacement cost less depreciation, at the time of a loss for the following:
   • sails, dodgers, protective coverings inclusive of all-weather bridge and cockpit enclosures, carpeting,
     upholstery, cushions and fabrics which are over three years of age; or
   • outboard motors or outdrive units which are over seven years of age.
     The depreciation will not be greater than 80% of the replacement cost of that item.


    Yacht Preference Property Damage Coverage

     In Yacht Preference Property Damage Coverage, a "covered loss" includes all risk of physical loss to your
     insured vessel or other property covered under this part of your Masterpiece Policy, unless stated
     otherwise or an exclusion applies.


     Extra Property Damage Coverages

     In addition to covering the physical loss to your insured vessel, we also provide other related coverages.
     These coverages are in addition to the amount of property damage coverage for your insured vessel
     unless stated otherwise or an exclusion applies. All deductibles apply to Extra Property Damage
     Coverages unless stated otherwise.

     Personal property
     We cover personal property of a covered person and that of your guests and your crew while it is on
     board your insured vessel. But we do not cover any loss caused by changes in temperature or humidity or
     if such personal property is lost or misplaced. Personal property does not include fishing tackle.

     We will pay the lesser of the reasonable cost to repair or replace covered personal property with like kind
     and quality, without deduction for depreciation, up to the amount of coverage for personal property shown
     on the Declarations Page for each covered loss. There is no deductible for this coverage.

     Firearms
     We will pay up to $5,000 for the theft of firearms from on board the insured vessel which are owned by a
     covered person. This coverage does not apply if the firearms were illegally obtained by a covered person
     or were used in an illegal activity. There is no deductible for this coverage.




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   Yacht Preference°
   Property Damage Coverage
CHUBB'

   Extra Property Damage Coverages
   (continued)

   Fishing tackle
   We cover fishing tackle of a covered person and that of your guests and your crew while they are on
   board your insured vessel. But we do not cover any loss if such fishing tackle is lost or misplaced. We will
   pay up to $75,000 for fishing tackle, not to exceed $5,000 for any single rod or single reel, for the
   reasonable cost to repair or replace fishing tackle with like kind and quality. A $500 deductible applies.

    Charter
   If the Yacht Preference Property Damage Charter Coverage endorsement is attached to your policy, we
   cover physical loss to your insured vessel while your insured vessel is being chartered under a written
   charter party agreement, for private pleasure use only, so long as your insured vessel is in the care and
   control of the captain on file with us at all times. These payments do not increase the amount of property
   damage coverage for your insured vessel. This coverage does not apply if the charter agreement is
   written in your name or in the name of an entity in which you are a member, officer, director, trustee or
   partner.

    Loss of charter hire
    If your insured vessel is out of commission because of a covered loss, we will pay up to $100,000 if your
    insured vessel had any executed written charter party agreements that could not take place. For each
    covered loss to your insured vessel, we cover the amount of charter hire in these agreements, up to
    $100,000 for the amount of time that your insured vessel would have been chartered under the charter
    party agreements, for up to 60 days from the date of loss. This period of time is not limited by the
    expiration of this policy. This coverage only applies if the Yacht Preference Property Damage Charter
    Coverage endorsement is attached to your policy. This coverage does not apply if the charter agreement
    is written in your name or in the name of an entity in which you are a member, officer, director, trustee or
    partner. There is no deductible for this coverage.

    If we make payment for Loss of charter hire there shall be no payment by us arising out of the same
    occurrence for Rental reimbursement coverage.

    Mopeds, motorbikes and motorcycles
    We will pay up to the actual cash value for physical loss to any moped, motorbike or motorcycle owned
    by you, while stored on board your insured vessel. There is no deductible for this coverage. Accordingly,
    the Motorized land vehicles exclusion under General Policy Exclusions does not apply to this coverage.

    Personal watercraft
    We cover the personal watercraft carried on board your insured vessel, used in conjunction with your
    insured vessel and when used within the same navigational limits as your insured vessel. These
    payments do not increase the amount of coverage for your insured vessel. There is no deductible for this
    coverage.

    Precautionary measures
    We will pay up to $5,000 for the reasonable direct costs you incur to haul, fuel, or dock your insured
    vessel, including the direct costs for the acquisition of lines, anchors and additional equipment to secure
    the insured vessel, because your insured vessel is endangered by a covered peril. However, in the event
    of a tropical depression, tropical storm or hurricane, the National Weather Service must issue a watch or
    warning for the area where your insured vessel is located. There is no deductible for this coverage.



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    Yacht Preference'
    Property Damage Coverage

    Extra Property Damage Coverages
    (continued)

    Loss expense
    After a covered loss, we will pay for all reasonable salvage expense charges you are obligated to pay and
    the necessary temporary precautionary repairs made solely to protect your insured vessel from further
    loss or damage by a covered peril, up to 100% of the amount of property damage coverage shown on the
    Declarations Page for your insured vessel. There is no deductible for this coverage.

    Additional living expenses
    We will pay up to $5,000 for any reasonable additional living expenses you may incur in minimizing a
    covered loss and preventing further loss or damage by a covered peril. There is no deductible for this
    coverage.

    Trailers
    We cover your trailer used with your insured vessel or personal watercraft. For a covered loss to this
    trailer, we will pay the lesser of the reasonable cost to repair or replace the covered trailer with like kind
    and quality, without deduction for depreciation, up to the amount of coverage shown on the Declarations
    Page for trailers.

    Emergency towing and service
    We will pay up to the amount of property damage coverage shown on the Declarations Page for your
    insured vessel for all reasonable costs incurred by you for the following emergency towing and service to
    your insured vessel and its trailer:
  • towing to the nearest marina, service station or other location where repairs can be made;
  • delivery of necessary fuel or repair parts excluding the cost of the delivered items; and
  • the cost of labor done at the site of breakdown.

    This coverage applies only if your insured vessel or trailer is disabled for any reason other than a covered
    loss. There is no deductible for this coverage.

    Newly acquired watercraft
    We cover any watercraft you acquire during the policy period up to its verifiable purchase price for up to
    30 days after you acquire it. But you must request coverage for the newly acquired watercraft within the
    30 days after you acquire it, we must agree to insure it, and you must pay the premium from the date
    acquired. Our payment is subject to a deductible of 1% of the acquired watercraft's hull value or $500,
    whichever is greater.

    Temporary substitute watercraft
     If your insured vessel is out of commission due to a covered partial loss and has not been repaired within
     48 hours from the date of loss, we will pay up to $150,000 to charter a temporary substitute watercraft.
     The temporary substitute watercraft must be of similar type and of equal or lesser value and length. But
     we do not cover temporary substitute watercraft if:
   • the covered loss resulted in a total loss of your insured vessel; or
   • the temporary substitute watercraft is being used for any purpose other than replacing your insured
     vessel while it is out of commission.

    Bottom inspection
     We will pay the reasonable cost to inspect the bottom of your insured vessel after grounding, stranding or
     striking a submerged object. There is no deductible for this coverage.




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    Yacht Preference'
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    Extra Property Damage Coverages
    (continued)


    Tournament fees
    We will pay up to $25,000 or the amount of your prepaid tournament entry fee, whichever is less, if your
    insured vessel was registered to participate in a fishing tournament and cannot because of a covered
    loss. The maximum amount we will pay for each covered loss is $25,000 or the amount of your prepaid
    tournament entry fee, whichever is less, regardless of the number of tournaments for which you are
    registered. There is no deductible for this coverage.

    Essential documents
    We will pay the reasonable administrative expenses that a covered person, crew member, or your guest
    incurs to replace an essential document or obtain certified copies of an essential document up to $5,000
    for each covered loss in order to continue the voyage or visit ashore, unless another exclusion applies.
    There is no deductible for this coverage.

    Fine arts
    For a covered loss to your fine arts while on board your insured vessel, we will pay up to the amount
    required to repair or replace your fine arts, whichever is less, up to $25,000. But we will not pay more
    than $5,000 for loss to any one fine art. We will not deduct for depreciation. There is no deductible for this
    coverage.

    Legal tender
    We will pay up to $10,000 for legal tender that is stolen from a locked safe(s) while onboard your insured
    vessel. However, we do not cover any loss caused by the taking or misappropriation of legal tender by
    you or your captain, crew or guests or if the legal tender was lost, misplaced or was stolen from a locked
    safe(s) with no signs of forcible or violent entry. There is no deductible for this coverage.

     Boat show and demonstration
     We cover physical damage to your insured vessel while it is being used for exhibition at a boat show or
     when it is being navigated by a covered person for demonstration purposes.

     Pet injury
     If one or more of your domestic pets, which is not primarily owned or kept for business use, is injured or
     dies as a result of a covered loss to your insured vessel, we will pay for the necessary, reasonable
     expenses you incur to treat, euthanize, cremate, bury, and replace these pets, up to $2,000 regardless of
     the number of pets involved in the covered loss. There is no deductible for this coverage.


     Exclusions

     In addition to the exclusions under General Policy Exclusions, the following exclusions apply to your
     Yacht Preference Property Damage Coverage, including the Extra Property Damage Coverages, unless
     stated otherwise.

     The words "caused by" mean any loss that is contributed to, made worse by, or in any way results from
     that peril.



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    Yacht Preference.
    Property Damage Coverage


    Exclusions
    (continued)


    Gradual or sudden loss. We do not cover any loss caused by wear and tear, gradual deterioration,
    galvanic corrosion, lack of maintenance, fiberglass osmosis, blistering or marine life. However, we do
    insure ensuing covered loss due to fire, explosion, sinking, demasting, collision or stranding unless
    another exclusion applies. We also provide coverage for damage to engines, generators or pumps due to
    the attachment of zebra mussels provided the insured vessel is hauled and cleaned annually.

    Misappropriation. We do not cover any loss caused by the taking or other misappropriation of property
    by or directed by a person or entity named on the Declarations Page, that person's spouse, a family
    member, or a person who lives with you. This exclusion does not apply to the taking or other
    misappropriation of property by your captain, crew, or guests, unless the misappropriation was directed
    by a person or entity named on the Declarations Page, that person's spouse, a family member, or a
    person who lives with you.

    Ocean cargo transit. We do not cover any loss to your insured vessel that results while your insured
    vessel is being loaded, unloaded or transported aboard an ocean cargo vessel, unless we agree in
    advance in writing to cover such transport.

    Neglect. We do not cover any loss caused by your failure to use all reasonable means to protect property
    before, at, or after the time of a loss.

    Confiscation. We do not cover any loss caused by the confiscation, destruction or seizure of property by
    any government or public authority.

    Provisions. We do not cover any loss to the provisions of your insured vessel.

     Diminution in value. We do not provide coverage for diminution in value. "Diminution in value" means
     the actual or perceived loss in market or resale value which results from a covered loss.




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     MaSterPieCe®                                                                      Yacht Selects ,.
                                                                                       Liability Coverage
CHUBB

    This part of your Masterpiece Policy provides you with Yacht Select Liability Coverage, unless stated
    otherwise or an exclusion applies.


    Payment for a Loss

    Amount of coverage
    The amount of coverage for liability is shown on the Declarations Page. This is the maximum amount of
    coverage for liability available for any one occurrence regardless of the number of insured vessels
    covered under this policy. We will not pay more than that amount for covered damages from any one
    occurrence, regardless of how many claims, policies, watercraft, vessels, yachts, or people are involved
    in the occurrence.

    Any sums we pay for Maritime benefits, or costs we pay for legal expenses (see Defense Coverages), are
    in addition to the amount of coverage.

    Deductible
    A deductible is that amount we will subtract from the amount of covered damages we pay. If shown on
    the Declarations Page, a liability deductible could apply to each occurrence unless stated otherwise.


    Yacht Select Liability Coverage

    We cover damages a covered person is legally obligated to pay for bodily injury or property damage
    arising out of the ownership, maintenance, use, loading or unloading of your insured vessel, which take
    place anytime during the policy period and is caused by an occurrence unless stated otherwise or an
    exclusion applies. This coverage includes damages you are legally obligated to pay as a result of liability
    under the Jones Act, General Maritime Law, the Longshore and Harbor Workers' Compensation Act and
    the Maritime Labour Convention, 2006 or any subsequent amendments, or similar laws.

    This coverage applies to damages occurring within the Navigational Limits covered in this policy including
    the land portions of the Navigational Limits shown on the Navigation Warranty, except where prohibited
    by law.

    Maritime benefits
    We also provide you with coverage for sums you are legally obligated to pay for:
  • unearned wages, maintenance and cure under General Maritime Law for a Jones Act seaman;
  • the financial consequences of sickness, injury or death of a seafarer under the Maritime Labour
    Convention, 2006 or any subsequent amendments, or similar laws;
  • reasonable expenses incurred by you to repatriate any member of your crew as required by the Maritime
    Labour Convention, 2006 or any subsequent amendments, or similar laws; and
  • benefits payable to an injured worker under the Longshore and Harbor Workers' Compensation Act.




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   Yacht Selectsm
   Liability Coverage


   Yacht Select Liability Coverage
   (continued)


   Oil Pollution Act
   We also provide you with coverage and limits of liability required by the Oil Pollution Act of 1990, and any
   subsequent amendments. If the Oil Pollution Act of 1990, and any subsequent amendments, has a
   financial responsibility or similar requirement specifying limits of liability for property damage higher than
   the amount of coverage for liability shown on the Declarations Page, and if there is no other valid and
   collectible insurance, we will provide the specified higher limit. However, we will not pay more than the
   limit of liability required by the Oil Pollution Act of 1990 or any subsequent amendments.

    Exclusions to this coverage are described in Exclusions.

    Defense coverages
    We will defend a covered person against any suit seeking covered damages for bodily injury or property
    damage. We provide this defense at our own expense, with counsel of our choice, even if the suit is
    groundless, false, or fraudulent. We may investigate, negotiate, and settle any such claim or suit at our
    discretion.

    As part of our investigation, defense, negotiation, or settlement we will pay:
  • all premiums on appeal bonds required in any suit we defend;
  • all premiums on bonds to release attachments for any amount up to the amount of coverage for liability
    (but we are not obligated to apply for or furnish any bond);
  • all expenses incurred by us;
  • all costs taxed against a covered person;
  • all interest accruing after a judgement is entered in a suit we defend, on only that part of the judgement
    we are responsible for paying. We will not pay interest accruing after we have paid the judgement up to
    the amount of coverage;
  • all prejudgement interest awarded against a covered person on that part of the judgement we pay or offer
    to pay. We will not pay any prejudgement interest based on that period of time after we make an offer to
    pay the amount of coverage;
  • all earnings lost by each covered person at our request, up to $50,000;
  • other reasonable expenses incurred by a covered person at our request; and
  • the cost of bail bonds required of a covered person because of a covered loss.

    In jurisdictions where we may be prevented by local law from carrying out these Defense Coverages, we
    will pay only those defense expenses that we agree in writing to pay and that are incurred by you.

    Defense coverages does not apply to the following liability coverages: Wreck removal, Marine
    environmental damage, and Search and rescue.


    Extra Liability Coverages

    In addition to covering damages and defense costs, we also provide other related coverages. These
    coverages are in addition to the amount of coverage for damages and defense costs unless stated
    otherwise or an exclusion applies.




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    Yacht Selectsm
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    Extra Liability Coverages
    (continued)


    Wreck removal
    We will pay up to 100% of the amount of coverage for liability to cover the reasonable costs to raise,
    remove, or destroy the wreck of your insured vessel, if you are legally required to do so.

    Operating other watercraft
    We cover damages you are legally obligated to pay for bodily injury or property damage caused by an
    occurrence during the policy period which result while you are operating another watercraft for no longer
    than 45 days, that is not owned, rented or chartered by you or a family member, unless stated otherwise
    or an exclusion applies.

    However, the most we will pay for property damage to the other watercraft and its equipment is up to
    $50,000, subject to a $500 deductible, unless stated otherwise or an exclusion applies.

    These payments do not increase the amount of liability coverage.

     Newly acquired watercraft
    We cover damages a covered person is legally obligated to pay for bodily injury or property damage
    caused by an occurrence resulting from the ownership, maintenance or use of any watercraft you acquire
    during the policy period for up to 30 days after acquisition, unless stated otherwise or an exclusion
    applies. These payments do not increase the amount of liability coverage. You must request coverage
    for the newly acquired watercraft within the 30 days after you acquire it, we must agree to insure it, and
    you must pay the premium from the date acquired.

     Temporary substitute watercraft
     If your insured vessel is out of commission because of a covered partial loss and has not been repaired
     within 72 hours from the date of loss, we cover damages a covered person is legally obligated to pay for
     bodily injury or property damage arising from the maintenance or use of a temporary substitute watercraft
     while your insured vessel is being repaired. The temporary substitute watercraft must be of similar type
     and of equal or lesser value and length. But we do not cover any person for the maintenance or use of a
     temporary substitute watercraft if:
   • the covered loss resulted in a total loss to your insured vessel; or
   • the temporary substitute watercraft is being used for any purpose other than replacing your insured
     vessel while it is out of commission.

     These payments do not increase the amount of liability coverage.

     Marine environmental damage fines and penalties
     We cover fines, penalties, assessments, multiplication of damages, restoration costs and monitoring costs
     a covered person is legally obligated to pay, up to $25,000 for any one occurrence.

     "Marine environmental damage" means the physical injury to or the alteration or destruction of coastal or
     marine habitat through physical contact with your insured vessel.

     "Marine habitat" means the place or environment where a plant or animal naturally or normally lives.




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   Yacht Selects.,
   Liability Coverage

   Extra Liability Coverages
   (continued)


   Search and rescue
   We will pay up to $25,000 for the reasonable expenses incurred by you or a family member for a search
   and rescue operation in the event any person is lost at sea from your insured vessel.

    Marina as additional insured
   The yacht club, marina or other similar facility where the insured vessel(s) is kept is added as an
   additional insured on this policy, but only as their interest may appear in the insured vessel and for the
   liability arising out of the acts, errors or omissions of the named insured with respect to the insured vessel
   covered by this policy. The additional insured is named as such for purpose of bodily injury and property
   damage liability in connection with the named insured's ownership, maintenance and operation of the
   insured vessel covered by this policy.

    Accidental death benefit
    We will pay an accidental death benefit of $5,000 in the event of your or a family member's death after an
    occurrence, when death results directly from bodily injury sustained out of the use or operation of the
    insured vessel, and independently of all other causes of bodily injury (other than sickness or disease
    resulting therefrom), if death occurs within 90 days of the occurrence.


    Exclusions

    In addition to the exclusions under General Policy Exclusions, the following exclusions apply to your
    Yacht Select Liability Coverage, including the Extra Liability Coverages, unless stated otherwise.

    Employees. We do not cover any employee of an entity named on the Declarations Page other than for
    damages arising out of the ownership, maintenance, use, towing, loading or unloading of your insured
    vessel.

    Nonpermissive use. We do not cover any person who uses your insured vessel without permission from
    a covered person.

    Workers' compensation or disability. We do not cover any damages a covered person is legally
    obligated to provide under any workers' compensation, disability benefits, unemployment compensation
    or similar law.

    Fines/punitive damages. We do not cover any fines, penalties or punitive damages. This exclusion does
    not apply to Marine environmental damage fines and penalties.

    Contractual liability. We do not cover any covered person for damages for any liability assumed under
    any oral or written contract or agreement.

    Lost wages. We do not cover any loss of crew wages, except as provided under the Jones Act, the
    Longshore and Harbor Workers' Compensation Act, the Maritime Labour Convention, 2006 or any
    subsequent amendments and General Maritime Law.




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    Yacht Selects',
    Liability Coverage
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    Exclusions
    (continued)


    Covered person's or dependent's bodily injury. We do not cover any damages for bodily injury for any
    covered person or his or her dependents where the ultimate beneficiary is the offending party or
    defendant. We also do not cover any damages for bodily injury for which a person or entity named on the
    Declarations Page or a family member can be held legally liable, in any way, to a spouse, a family
    member, a person who lives with you, or a person or entity named on the Declarations Page. We also do
    not cover any damages for bodily injury for which a spouse, a family member, a person who lives with
    you, or a person or entity named on the Declarations Page can be held legally liable, in any way, to you
    or a family member.

    Your owned watercraft. We do not cover any person for property damage to watercraft owned by you or
    a family member.

    Your other watercraft. We do not cover any person for damages arising out of the ownership,
    maintenance, use, loading, unloading, transporting, or towing of any watercraft owned by you or a family
    member that is not covered under this policy.

    Operating other watercraft. We do not cover any property damage to watercraft you operate, which is
    not owned, rented or chartered by you or a family member, other than provided under the Extra Liability
    Coverage, Operating other watercraft.




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                                                                                         Yacht Preferences
     MfterPiece®                                                                         Liability Coverage
CHUBB

    This part of your Masterpiece Policy provides you with Yacht Preference Liability Coverage, unless stated
    otherwise or an exclusion applies.


    Payment for a Loss

    Amount of coverage
    The amount of coverage for liability is shown on the Declarations Page. This is the maximum amount of
    coverage for liability available for any one occurrence regardless of the number of insured vessels
    covered under this policy. We will not pay more than that amount for covered damages from any one
    occurrence, regardless of how many claims, policies, watercraft, vessels, yachts, or people are involved
    in the occurrence.

    Any sums we pay for Maritime benefits, or costs we pay for legal expenses (see Defense Coverages), are
    in addition to the amount of coverage.

    Deductible
    A deductible is that amount we will subtract from the amount of covered damages we pay. If shown on
    the Declarations Page, a liability deductible could apply to each occurrence unless stated otherwise.


    Yacht Preference Liability Coverage

     We cover damages a covered person is legally obligated to pay for bodily injury or property damage
     arising out of the ownership, maintenance, use, loading or unloading of your insured vessel, which take
     place anytime during the policy period and is caused by an occurrence unless stated otherwise or an
     exclusion applies. This coverage includes damages you are legally obligated to pay as a result of liability
     under the Jones Act, General Maritime Law, the Longshore and Harbor Workers' Compensation Act and
     the Maritime Labour Convention, 2006 or any subsequent amendments, or similar laws.

     This coverage applies to damages occurring within the Navigational Limits covered in this policy including
     the land portions of the Navigational Limits shown on the Navigation Warranty, except where prohibited
     by law.

     Maritime benefits
     We also provide you with coverage for sums you are legally obligated to pay for:
   • unearned wages, maintenance and cure under General Maritime Law for a Jones Act seaman;
   • the financial consequences of sickness, injury or death of a seafarer under the Maritime Labour
     Convention, 2006 or any subsequent amendments, or similar laws;
   • reasonable expenses incurred by you to repatriate any member of your crew as required by the Maritime
     Labour Convention, 2006 or any subsequent amendments, or similar laws; and
   • benefits payable to an injured worker under the Longshore and Harbor Workers' Compensation Act.




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    Yacht Preference.
    Liability Coverage

    Yacht Preference Liability Coverage
    (continued)


    Oil Pollution Act
    We also provide you with coverage and limits of liability required by the Oil Pollution Act of 1990, and any
    subsequent amendments. If the Oil Pollution Act of 1990, and any subsequent amendments, has a
    financial responsibility or similar requirement specifying limits of liability for property damage higher than
    the amount of coverage for liability shown on the Declarations Page, and if there is no other valid and
    collectible insurance, we will provide the specified higher limit. However, we will not pay more than the
    limit of liability required by the Oil Pollution Act of 1990 or any subsequent amendments.

    Exclusions to this coverage are described in Exclusions.

    Defense coverages
    We will defend a covered person against any suit seeking covered damages for bodily injury or property
    damage. We provide this defense at our own expense, with counsel of our choice, even if the suit is
    groundless, false, or fraudulent. We may investigate, negotiate, and settle any such claim or suit at our
    discretion.

     As part of our investigation, defense, negotiation, or settlement we will pay:
   • all premiums on appeal bonds required in any suit we defend;
   • all premiums on bonds to release attachments for any amount up to the amount of coverage for liability
     (but we are not obligated to apply for or furnish any bond);
   • all expenses incurred by us;
   • all costs taxed against a covered person;
   • all interest accruing after a judgement is entered in a suit we defend, on only that part of the judgement
     we are responsible for paying. We will not pay interest accruing after we have paid the judgement up to
     the amount of coverage;
   • all prejudgement interest awarded against a covered person on that part of the judgement we pay or offer
     to pay. We will not pay any prejudgement interest based on that period of time after we make an offer to
     pay the amount of coverage;
   • all earnings lost by each covered person at our request, up to $50,000;
   • other reasonable expenses incurred by a covered person at our request; and
   • the cost of bail bonds required of a covered person because of a covered loss.

     In jurisdictions where we may be prevented by local law from carrying out these Defense Coverages, we
     will pay only those defense expenses that we agree in writing to pay and that are incurred by you.

     Defense coverages does not apply to the following liability coverages: Wreck removal, Marine
     environmental damage, and Search and rescue.


     Extra Liability Coverages

     In addition to covering damages and defense costs, we also provide other related coverages. These
     coverages are in addition to the amount of coverage for damages and defense costs unless stated
     otherwise or an exclusion applies.




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   Yacht Preference.
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   Extra Liability Coverages
    (continued)


    Wreck removal
    We will pay up to 100% of the amount of coverage for liability to cover the reasonable costs to raise,
    remove, or destroy the wreck of your insured vessel, if you are legally required to do so.

    Charter
    If the Yacht Preference Liability Charter Coverage endorsement is attached to your policy, we cover
    damages that result while your insured vessel is being chartered under a written charter party agreement,
    for private pleasure use only, so long as your insured vessel is in the care and control of the captain on
    file with us at all times. These payments do not increase the amount of liability coverage. This coverage
    does not apply if the charter agreement is written in your name or in the name of an entity in which you
    are a member, officer, director, trustee or partner.

    Personal watercraft
    We cover damages you are legally obligated to pay for bodily injury caused by an occurrence during the
    policy period resulting from a covered person's use of a personal watercraft which is carried on board
    your insured vessel, used in conjunction with your insured vessel and when used within the same
    navigational limits as your insured vessel. These payments do not increase the amount of liability
    coverage.

    Operating other watercraft
    We cover damages you are legally obligated to pay for bodily injury or property damage caused by an
    occurrence during the policy period which result while you are operating another watercraft for no longer
    than 45 days, that is not owned, rented or chartered by you or a family member, unless stated otherwise
    or an exclusion applies.

    However, the most we will pay for property damage to the other watercraft and its equipment is up to
    $50,000, subject to a $500 deductible, unless stated otherwise or an exclusion applies.

    These payments do not increase the amount of liability coverage.

    Newly acquired watercraft
    We cover damages a covered person is legally obligated to pay for bodily injury or property damage
    caused by an occurrence resulting from the ownership, maintenance or use of any watercraft you acquire
    during the policy period for up to 30 days after acquisition, unless stated otherwise or an exclusion
    applies. These payments do not increase the amount of liability coverage. You must request coverage
    for the newly acquired watercraft within the 30 days after you acquire it, we must agree to insure it, and
    you must pay the premium from the date acquired.

    Temporary substitute watercraft
     If your insured vessel is out of commission because of a covered partial loss and has not been repaired
     within 48 hours from the date of loss, we cover damages a covered person is legally obligated to pay for
     bodily injury or property damage arising from the maintenance or use of a temporary substitute watercraft
     while your insured vessel is being repaired. The temporary substitute watercraft must be of similar type
     and of equal or lesser value and length. But we do not cover any person for the maintenance or use of a
     temporary substitute watercraft if:
   • the covered loss resulted in a total loss to your insured vessel; or


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   Yacht Preferences
   Liability Coverage

   Extra Liability Coverages
   (continued)


  • the temporary substitute watercraft is being used for any purpose other than replacing your insured
    vessel while it is out of commission.

    These payments do not increase the amount of liability coverage.

    Marine environmental damage fines and penalties
    We cover fines, penalties, assessments, multiplication of damages, restoration costs and monitoring costs
    a covered person is legally obligated to pay, up to $100,000 for any one occurrence.

    "Marine environmental damage" means the physical injury to or the alteration or destruction of coastal or
    marine habitat through physical contact with your insured vessel.

    "Marine habitat" means the place or environment where a plant or animal naturally or normally lives.

    Search and rescue
    We will pay up to $50,000 for the reasonable expenses incurred by you or a family member for a search
    and rescue operation in the event any person is lost at sea from your insured vessel.

    Marina as additional insured
    The yacht club, marina or other similar facility where the insured vessel(s) is kept is added as an
    additional insured on this policy, but only as their interest may appear in the insured vessel and for the
    liability arising out of the acts, errors or omissions of the named insured with respect to the insured vessel
    covered by this policy. The additional insured is named as such for purpose of bodily injury and property
    damage liability in connection with the named insured's ownership, maintenance and operation of the
    insured vessel covered by this policy.

    Accidental death benefit
    We will pay an accidental death benefit of $5,000 in the event of your or a family member's death after an
    occurrence, when death results directly from bodily injury sustained out of the use or operation of the
    insured vessel, and independently of all other causes of bodily injury (other than sickness or disease
    resulting therefrom), if death occurs within 90 days of the occurrence.


    Exclusions

    In addition to the exclusions under General Policy Exclusions, the following exclusions apply to your
    Yacht Preference Liability Coverage, including the Extra Liability Coverages, unless stated otherwise.

    Employees. We do not cover any employee of an entity named on the Declarations Page other than for
    damages arising out of the ownership, maintenance, use, towing, loading or unloading of your insured
    vessel.

    Nonpermissive use. We do not cover any person who uses your insured vessel without permission from
    a covered person.




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    Yacht Preferences
    Liability Coverage
CHUBB'


    Exclusions
    (continued)


    Workers' compensation or disability. We do not cover any damages a covered person is legally
    obligated to provide under any workers' compensation, disability benefits, unemployment compensation
    or similar law.

    Fines/punitive damages. We do not cover any fines, penalties or punitive damages. This exclusion does
    not apply to Marine environmental damage fines and penalties.

    Contractual liability. We do not cover any covered person for damages for any liability assumed under
    any oral or written contract or agreement.

    Lost wages. We do not cover any loss of crew wages, except as provided under the Jones Act, the
    Longshore and Harbor Workers' Compensation Act, the Maritime Labour Convention, 2006 or any
    subsequent amendments and General Maritime Law.

    Covered person's or dependent's bodily injury. We do not cover any damages for bodily injury for any
    covered person or his or her dependents where the ultimate beneficiary is the offending party or
    defendant. We also do not cover any damages for bodily injury for which a person or entity named on the
    Declarations Page or a family member can be held legally liable, in any way, to a spouse, a family
    member, a person who lives with you, or a person or entity named on the Declarations Page. We also do
    not cover any damages for bodily injury for which a spouse, a family member, a person who lives with
    you, or a person or entity named on the Declarations Page can be held legally liable, in any way, to you
    or a family member.

    Your owned watercraft. We do not cover any person for property damage to watercraft owned by you or
    a family member.

    Damage to your other watercraft. We do not cover any person for damages arising out of the
    ownership, maintenance, use, loading, unloading, transporting, or towing of any watercraft owned by you
    or a family member that is not covered under this policy.

     Operating other watercraft. We do not cover any property damage to watercraft you operate, which is
     not owned, rented or chartered by you or a family member, other than provided under the Extra Liability
     Coverage, Operating other watercraft.




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     MasterPiece®                                                                      Medical Payments
                                                                                       Coverage
CHUBB

    This part of your Masterpiece Policy provides you with Medical Payments Coverage, unless stated
    otherwise or an exclusion applies.


    Payment for a Loss

    Amount of coverage
    The amount of coverage for medical payments is shown on the Declarations Page. We will not pay more
    than that amount for covered damages from any one occurrence, regardless of how many claims,
    policies, watercraft, vessels, yachts, or people are involved in the occurrence.

    Any payment made under Medical payments coverage is not an admission of liability by a covered person
    Or US.



    Medical Payments Coverage

     We will pay for reasonable medical expenses for each occurrence for medical expenses incurred or
     medically ascertained within three years of an accident. But the expenses must be for bodily injury to
     persons from a boating accident which occurs while, in, upon, boarding, leaving or towed behind:
   • an insured vessel shown on the Declarations Page, or
   • a temporary substitute watercraft or a newly acquired watercraft.

    "Medical expenses" includes reasonable charges for first aid, medical, funeral, surgical, x-ray, dental,
    ambulance, hospital, rehabilitation, professional nursing services, and prosthetic devices.


    Exclusions

     In addition to the exclusions under General Policy Exclusions, the following exclusions apply to your
     Medical Payments Coverage, unless stated otherwise.

     Employees. We do not cover any employee of an entity named on the Declarations Page other than for
     damages arising out of the ownership, maintenance, use, towing, loading or unloading of your insured
     vessel.

     Nonpermissive use. We do not cover any person who uses your insured vessel without permission from
     a covered person.

     Workers' compensation or disability. We do not cover any damages a covered person is legally
     obligated to provide under any workers' compensation, disability benefits, unemployment compensation
     or similar law.

     Contractual liability. We do not cover any covered person for damages for any liability assumed under
     any oral or written contract or agreement.




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   Medical Payments
   Coverage



   Exclusions
    (continued)


    Lost wages. We do not cover any loss of crew wages, except as provided under the Jones Act, the
    Longshore and Harbor Workers' Compensation Act, General Maritime Law and the Maritime Labour
    Convention, 2006 or any subsequent amendments.

    Covered person's or dependent's bodily injury. We do not cover any damages for bodily injury for any
    covered person or his or her dependents where the ultimate beneficiary is the offending party or
    defendant. We also do not cover any damages for bodily injury for which a person or entity named on the
    Declarations Page or a family member can be held legally liable, in any way, to a spouse, a family
    member, a person who lives with you, or a person or entity named on the Declarations Page. We also do
    not cover any damages for bodily injury for which a spouse, a family member, a person who lives with
    you, or a person or entity named on the Declarations Page can be held legally liable, in any way, to you
    or a family member.




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     mazsterpiece®                                                                       Uninsured Boaters
                                                                                         Protection
CHUBB'
    This part of your Masterpiece Policy provides you with coverage you are legally entitled to receive from
    the owner or operator of an uninsured vessel, unless stated otherwise or an exclusion applies.

    This coverage applies to a loss occurring on land or within the Navigational Limits shown in the
    Navigation Warranty attached to this policy.


    Payment for a Loss

    Amount of coverage
    The amount of coverage for uninsured boaters protection is shown on the Declarations Page. This is the
    maximum amount of coverage available for any one occurrence regardless of the number of insured
    vessels covered under this policy. We will not pay more than this amount for covered damages from any
    one occurrence regardless of the number of claims made, policies, watercraft, vessels, yachts, or people
    are involved in the occurrence.

    Duplication of benefits
    We will not duplicate any payments already made under any workers' compensation, disability benefits,
    Jones Act, General Maritime Law, the Longshore and Harbor Workers' Compensation Act and the
    Maritime Labour Convention, 2006 or any subsequent amendments, or similar laws. And we will deduct
    from our payments under this coverage any payment the covered person is entitled to recover under any
    applicable bodily injury liability bonds or policies, including this policy or under any workers'
    compensation, disability benefits, Jones Act, General Maritime Law, the Longshore and Harbor Workers'
    Compensation Act and the Maritime Labour Convention, 2006 or any subsequent amendments, or similar
    laws. No one will be entitled to recover duplicate payments for the same elements of loss.


    Uninsured Boaters Protection
    We will pay to a covered person damages for bodily injury sustained while on board any insured vessel
    covered under this policy that the covered person is legally entitled to receive from the owner or operator
    of an uninsured vessel. We cover these damages for bodily injury to a covered person resulting from
    physical contact between your insured vessel and an uninsured vessel unless stated otherwise or an
    exclusion applies. We do not cover damages where there is no evidence of physical contact between
    your insured vessel and an uninsured vessel.

     We will pay this coverage only if:
   • the amount of liability under any bodily injury liability bonds or policies applicable to the uninsured vessel
     have been exhausted by payment of judgements or settlements; or
   • a tentative settlement has been made between a covered person and the insurer of the uninsured vessel
     and we:
     • have been given prompt written notice of such tentative settlement; and
     • advance payment to a covered person in an amount equal to the tentative settlement within 30 days
       after receipt of notification.

     "Uninsured vessel" means a vessel that:
   • has no bodily injury liability policy or bond applying at the time of the accident;
   • has a limit of liability less than the limit provided under this policy;
   • is a hit-and-run vessel whose owner or operator cannot be identified; or
   • has a bodily injury liability policy or bond with an insurance or bonding company that denies coverage or
     becomes insolvent within one year after the accident.


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   Uninsured Boaters
   Protection



   Uninsured Boaters Protection
   (continued)


    However, "uninsured vessel" does not include any vessel that is:
  • owned by, furnished to, or available for a covered person's regular use; or
  • being used as a residence or premises.


    Exclusions

    In addition to the exclusions under General Policy Exclusions, the following exclusions apply to your
    Uninsured Boaters Protection, unless stated otherwise.

    Claims settled without our consent. We do not cover any claim settled with a third party without our
    written consent. Nor do we cover any judgement for a suit brought without our written consent. However,
    this exclusion does not apply if such settlement does not prejudice our right to recover payment.

    Workers' compensation or disability. We do not cover any damages a covered person is legally
    obligated to provide under any workers' compensation, disability benefits, unemployment compensation
    or similar law.

    Fines/punitive damages. We do not cover any fines, penalties or punitive damages. This exclusion does
    not apply to Marine environmental damage.

    Your other watercraft. We do not cover any person for damages arising out of the ownership,
    maintenance, use, loading, unloading, transporting, or towing of any watercraft owned by you or a family
    member that is not covered under this policy.

    Lost wages. We do not cover any loss of crew wages, except as provided under the Jones Act, the
    Longshore and Harbor Workers' Compensation Act, the Maritime Labour Convention, 2006 or any
    subsequent amendments and General Maritime Law.

    Evidence of physical contact. We do not cover any damages where there is no evidence of physical
    contact between your insured vessel and an uninsured vessel.




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    masterpiece®                                                                       General Policy
                                                                                       Exclusions
CHUBB

    This part of your Masterpiece Policy explains the exclusions that apply to your policy.


    General Exclusions


    These exclusions apply to your policy in general, and to each coverage in it, unless stated otherwise.

    Intentional acts
    We do not provide any coverage for loss, damage, liability or expenses arising out of an act intended by
    any covered person to cause personal injury or property damage, even if the injury or damage is of a
    different degree or type than actually intended or expected. But we do cover such damages if the act was
    intended to protect people or property unless another exclusion applies. An intentional act is one whose
    consequences could have been foreseen by a reasonable person.

    Illegal acts
    We do not provide any coverage for loss, damage, liability or expenses arising from any illegal
    transportation or trade. But we do provide coverage for you or a family member who is not directly or
    indirectly involved in the illegal act.

    Charter
    We do not provide any coverage for loss, damage, liability or expenses that result while your insured
    vessel is being used for charter.

    Commercial use
    We do not provide any coverage for loss, damage, liability or expenses that result while your insured
    vessel is being used for commercial purposes. Recreational entertaining of business clients on your
    insured vessel is not considered commercial use.

    Racing
    We do not provide any coverage for loss, damage, liability or expenses arising out of the ownership,
    maintenance or use of your insured vessel during any instruction, practice, preparation for, or
    participation in, any competitive, prearranged or organized racing, speed test or speed contest, sports
    event or timed event of any kind, except sailboat races or predicted log contests.

    Towing
     We do not provide any coverage for loss, damage, liability or expenses arising out of the towing of any
     vessel by your insured vessel or out of the towing of your insured vessel by any vessel, except:
   • a dinghy/tender owned by you;
   • in an emergency situation;
   • non-owned vessels in distress or unintentionally disabled, provided there is no consideration for your
     services; or
   • the insured vessel towing another vessel owned by you while navigating inland waters or rivers except
     the Great Lakes, subject to the Navigation Warranty attached to this policy.

    Para-sailing, kite-skiing or other activities
    We do not provide any coverage for loss, damage, liability or expenses arising out of para-sailing, kite-
    skiing, or any other activity involving a device designed for flight. This exclusion also includes but is not
    limited to flyboards, hoverboards, jetlevs, jetovators or other similar devices.


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    General Policy
    Exclusions


CHUBB'

    General Exclusions
    (continued)


    Fungi, mold, bacteria and virus
    We do not provide any coverage for any actual or alleged loss, damage, liability or expenses arising out
    of mold, bacteria or virus, the fear of mold, bacteria or virus, or any consequences resulting from mold,
    bacteria or virus, or the fear of mold, bacteria or virus.

    Aircraft
    We do not cover any loss to an aircraft or aircraft parts. We also do not cover any damages arising out of
    the ownership, maintenance, use, loading, unloading, transporting or towing of any aircraft. "Aircraft"
    means any device used or designed for flight, except drones or similar unmanned device not used or
    designed to carry people or cargo.

     However, with respect to the ownership, maintenance or use of any drones or similar unmanned device,
     we do not cover any damages:
   • while such drone or similar unmanned device is being operated in a restricted airspace as determined by
     the Federal Aviation Administration or other governmental agency, whether on a local, state or federal
     level, including any temporary flight restrictions; or
   • to any aircraft, including any resulting damages. This exclusion applies whether such drone or similar
     unmanned device makes contact with the aircraft or not.

    Motorized land vehicles
     We do not provide any coverage for loss, damage, liability or expenses arising out of the ownership,
     maintenance, use, loading, unloading, storing, transporting or towing of any motorized land vehicle.

     Acts of war
     We do not provide any coverage for loss, damage, liability or expenses caused by war, undeclared war,
     civil war, insurrection, rebellion, revolution, warlike acts by a military force or personnel, any action taken
     in hindering or defending against any of these, the destruction or seizure of property for a military
     purpose, or any consequences of any of these acts regardless of any other direct or indirect cause or
     event, whether covered or not, contributing in any sequence to the loss.

     Nuclear or radiation hazard
     We do not provide any coverage for loss, damage, liability or expenses caused by nuclear reaction,
     radiation, or radioactive contamination, whether controlled or uncontrolled, or any consequence of any of
     these, regardless of any other direct or indirect cause or event, whether covered or not, contributing in
     any sequence to the loss.

     Chemical weapons and cyber attacks
     We do not provide any coverage for loss, damage, liability or expenses caused by the use or threatened
     use of:
   • any chemical, biological, bio-chemical, or electromagnetic weapon, device, agent or material; or
   • any computer, computer system, software program, virus or process, or any other electronic system,
     as a means for inflicting harm, or the consequence of any of these, regardless of any other direct or
     indirect cause or event, whether covered or not, contributing in any sequence to the loss.
     We also do not cover any loss caused by any action taken in hindering or defending against the use or
     threatened use of any of these.


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    General Policy
    Exclusions


CHUBB'

    General Exclusions
    (continued)


    Personal watercraft
     We do not provide any coverage for loss, damage, liability or expenses arising out of the operation of any
     personal watercraft:
   • from sunset to sunrise;
   • while towing any person; or
   • by any person who does not have a valid motor vehicle driver's license, other than you or a family
     member age 16 or older.




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     MagerPieCe®                                                                 Policy
                                                                                 Terms
CHUBB

    This part of your Masterpiece Policy explains the conditions that apply to your policy.


    General Conditions

    These conditions apply to your policy in general, and to each coverage in it.

    Policy period
    The effective dates of your policy are shown on the Declarations Page. Those dates begin at 12:01 a.m.
    standard time at the mailing address shown. Each renewal period shall be for a similar term.

    All coverages on this policy apply only to occurrences that take place while this policy is in effect.

    Renewals
    We or our agent may offer to renew this policy, at the premiums and under the policy provisions in effect
    at the date of renewal. We can do this by mailing you a bill for the premium to the address shown on the
    Declarations Page, along with any changes in the policy provisions or amounts of coverage. You may
    accept our offer by paying the required premium on or before the starting date of each renewal period.

    Change in control
    We do not provide coverage as of the date your insured vessel is sold, pledged, assigned, or transferred
    to a new owner, the date your vessel is legally removed from your custody or control, or the date there is
    a change in the controlling interest of the entity, which is shown on the Declarations Page, that owns your
    insured vessel.

     Transfer of rights
     If we make a payment under this policy, we will assume any recovery rights a covered person has in
     connection with that loss, to the extent we have paid for the loss.

     All of your rights of recovery will become our rights to the extent of any payment we make under this
     policy. A covered person will do everything necessary to secure such rights, and do nothing after a loss to
     prejudice such rights. If you take any action that impairs or waives our right to recover, you will have no
     coverage for loss unless we agree in advance to such action. However, you may waive your rights of
     recovery if you sign a written contract for repair of your insured vessel as a result of a covered loss, or if
     you sign a written contract for the dockage, slip rental, moorage, hauling/launching, or storage of your
     insured vessel.

     Concealment, misrepresentation, or omissions
     This policy is void if you or any covered person has concealed, misrepresented, or omitted any material
     fact relating to this policy before or after a loss.

     Carrier and bailees
     We will not make any payments under this policy to the benefit of any carrier or other bailee of damaged
     or lost property.

     Assignment
     You cannot transfer your interest in this policy to anyone else unless we agree in writing to the transfer.

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   Policy
   Terms

   General Conditions
   (continued)


   Application of coverage
   The amount of coverage applies separately to each covered person but does not increase the amount of
   coverage for any one occurrence.

   Duplicate coverages
   If a loss is covered under more than one part of this policy, we will pay you under the part giving you the
   most coverage, but not under more than one part. In no event will we make duplicate payments.

   Policy changes
   This policy can be changed only by a written amendment or endorsement we issue.

   Bankruptcy or insolvency
   We will meet all our obligations under this policy regardless of whether you, your estate, or anyone else
   or his or her estate becomes bankrupt or insolvent.

    In case of death
    In the event of your death, we cover your legal representative or any person having proper temporary
    custody of your insured vessel until a legal representative is appointed and qualified, but only with respect
    to your insured vessel covered under the policy at the time of death. We will also cover any member of
    your household who is a covered person at the time of death.

    Liberalization
    We may extend or broaden the insurance provided by this policy. If we do this during the policy period or
    within 60 days before it begins, without increasing the premium, then the extended or broadened
    coverage will apply to occurrences after the effective date of the extended or broadened coverage.

    Conforming to state law or maritime law
    This policy shall be construed in accordance with General Maritime Law or Admiralty Rule. If no General
    Maritime Law or Admiralty Rule applies, the law of the State appearing in your address as contained upon
    the Declarations Page will apply without regard to the conflict of laws or provisions thereof. Any provision
    of this policy that would be invalid under the applicable law shall be amended to the extent necessary for
    such provision to be in conformance with such law.

    Conforming to trade sanction laws
    This policy does not apply to the extent that trade or economic sanctions or other laws or regulations
    prohibit us from providing insurance.

    Local insurance
    You agree to obtain compulsory insurance you are required by the law of the local government for any
    countries outside of the United States, its territories or possessions, listed within the Navigational limits
    described in your Navigation Warranty.




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    Policy
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CHUBB'

    General Conditions
    (continued)

    Navigational limits extension
    If your insured vessel unintentionally navigates beyond the navigational limits specified on the Navigation
    Warranty included in this policy, this policy will remain in effect. You must give us written notice within ten
    days of the navigational limits breach and pay any additional premium due for the coverage extension.

    Property Damage Conditions

    These conditions apply to all coverage for damage to property in this policy.

    Other insurance
    When other property damage insurance applies to a covered loss, we will pay only the portion of the loss
    that the amount of coverage under this policy bears to the total amount of insurance covering the loss.
    However, our property damage coverage is excess over any compulsory insurance you are required to
    obtain by the law of the local government for any countries outside of the United States, its territories or
    possessions, listed within the Navigational limits described in your Navigation Warranty.

    Your duties after a loss
    If you have a loss this policy may cover, you must perform these duties:

    Notification. You must immediately notify us or your agent or broker of your loss. In case of theft or
    accident, you must also notify the police or similar competent authority.

    Cooperation and assistance. You must cooperate with and assist us fully in facilitating the investigation
    and adjustment of a loss, including assisting us in securing evidence and obtaining the attendance of
    witnesses. These witnesses may include you, family members, captain or crew members, other
    members of your household, anyone using your insured vessel with your permission, and anyone with
    knowledge of the loss.

     Protect property. You must take all reasonable means that are necessary to protect property from
     further loss or damage.

     Prepare an inventory. At our request, you must prepare and submit to us within 30 days of our request
     an itemized or valued inventory of damaged property, describing the loss in full. It should show in detail
     the amount insured under this policy and actual amount of the loss. Attach bills, receipts, and other
     documents to support your inventory.

     Display of loss. You must show us the damaged property when we ask and as often as we reasonably
     require.

     Proof of loss. At our request, you must submit to us, within 60 days after we request, your signed, sworn
     proof of loss providing all information and documentation we request such as the cause of loss,
     inventories, receipts, repair estimates and other similar records.




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    Policy
    Terms

    Property Damage Conditions
    (continued)


    Examination under oath. We have the right to examine separately under oath, as often as we may
    reasonably require, you, family members, captain or crew members, other members of your household,
    anyone using your insured vessel with your permission, and anyone with knowledge of the loss, and have
    them subscribe the same. We may also ask you to give us a signed description of the circumstances
    surrounding a loss and your interest in it, and to produce all records and documents we request and
    permit us to make copies

    Insurable interest
    We will not pay for any loss to your insured vessel unless you or a family member has an insurable
    interest at the time of the loss.

    If more than one person has an insurable interest in your insured vessel, we will not pay for an amount
    greater than your interest, up to the amount of coverage that applies.

    Abandoning property
    You cannot abandon any property to us unless we agree to accept it. You cannot abandon any property
    to a third party unless we agree.

    Survey
    If you or we fail to agree on the amount of loss, you or we may demand a survey of loss. Each party will
    select a licensed, independent marine surveyor within 20 days after receiving written request from the
    other. The two surveyors will select a third marine surveyor. If they cannot agree on a third surveyor
    within 15 days, you or we may request that the selection be made by a judge of a court having
    jurisdiction. Written agreement signed by any two of the three surveyors shall set the amount of the loss.
    However, the maximum amount we will pay for a loss is the applicable amount of coverage even if the
    amount of the loss is determined to be greater by survey. Each surveyor will be paid by the party
    selecting the surveyor. Other expenses of the survey and the compensation of the third surveyor shall be
    shared equally by you and us. However, any such survey will be without prejudice, and we will not waive
    our rights under this policy by agreeing to a survey.

    Loss payee
    If a loss payee is named in this policy, any loss payable will be paid to the loss payee and you, as
    interests appear. If more than one loss payee is named, the order of payment will be the same as the
    order of precedence of the loss payees. We cover the interests of the loss payee, unless the loss results
    from fraudulent acts or omissions on your part.

     If we deny your claim, that denial will not apply to a valid claim of the loss payee provided that the loss
     payee:
   • notifies us of any change in ownership or substantial change in risk of which the loss payee is aware;
   • pays any premium due under this policy on demand if you have neglected to pay the premium; and
   • submits a signed sworn statement of loss within 60 days after receiving notice from us of your failure to
     do so.

     Policy conditions relating to a survey and legal action against us apply to the loss payee. If the policy is
     cancelled or not renewed by us, the loss payee will be notified at least 10 days before the date
     cancellation or nonrenewal takes effect.



     11/17                                                 Policy Terms                                Page 0-4
     0 Chubb.2016. All rights reserved Form no. RM240000
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    Policy
    Terms
CHUBB"


    Property Damage Conditions
    (continued)


     If we pay the loss payee for any loss and deny payment to you, then:
   • our rights are subrogated to all rights of the loss payee granted under the loan on the property; or
   • at our option, we may pay to the loss payee the whole principal on the loan plus any accrued interest. In
     this event, we will receive a full assignment and transfer from the loss payee of all securities held as
     collateral to the debt.

     Subrogation will not impair the right of the loss payee to recover the full amount of the loss payee's claim.


     Liability, Medical Payments and Uninsured Boaters Protection
     Conditions

     These conditions apply to all liability, medical payments and uninsured boaters protection coverages in
     this policy.

     Other insurance
     This insurance is excess over any other insurance, including any compulsory insurance you are required
     to obtain by the law of the local government for any countries outside of the United States, its territories or
     possessions, listed within the Navigational limits described in your Navigation Warranty, except that
     written specifically to cover excess over the amount of coverage that applies in this policy.

     Your duties after a loss
     In case of a loss, the covered person shall perform the following duties that apply:

     Notification. You must notify us or your agent or broker as soon as possible.

     Cooperation and assistance. You must provide us with all available information. This includes any suit
     papers or other documents which help us in the event that we defend you. You must cooperate with and
     assist us fully in any legal defense, including assisting us in securing evidence and obtaining the
     attendance of witnesses. These witnesses may include you, family members, captain or crew members,
     other members of your household, anyone using your insured vessel with your permission, and anyone
     with knowledge of the occurrence. This may also include any association by us with the covered person
     in defense of a claim reasonably likely to involve us.

     Examination under oath. We have the right to examine separately under oath, as often as we may
     reasonably require, you, family members, captain or crew members, other members of your household,
     anyone using your insured vessel with your permission, and anyone with knowledge of the occurrence,
     and have them subscribe the same. We may also ask you to give us a signed description of the
     circumstances surrounding an occurrence, and to produce all records and documents we request and
     permit us to make copies.




     11/17                                                 Policy Terms                                   Page 0-5
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   Policy
   Terms



   Liability, Medical Payments and Uninsured Boaters Protection
   Conditions
   (continued)

    A person making a claim under any liability coverage in this policy must:
  • submit as often as we reasonably require:
    • to physical exams by physicians we select, which we will pay for; and
    • to examination under oath and subscribe the same; and
  • authorize us to obtain:
    • medical reports; and
    • other pertinent records.

    Application of coverage
    Liability coverage applies separately to each covered person. However, this provision does not increase
    the amount of coverage for any one occurrence.

    Appeals
    If a covered person, or any primary insurer, does not appeal a judgement for covered damages, we may
    choose to do so. We will then become responsible for all expenses, taxable costs, and interest arising out
    of the appeal. However, the amount of coverage for damages will not be increased


    Special Conditions

    In the event of conflict with any other conditions of your policy, these conditions supersede.

    Legal action against us
    You agree not to bring legal action against us unless you have first complied with all conditions of this
    policy. For property, you also agree to bring any action against us within one year after a loss occurs, but
    not until 30 days after proof of loss has been submitted to us and the amount of loss has been
    determined. However, this one-year period is extended by the number of days between the date that
    proof of loss is submitted and the date the claim is denied in whole or in part.

    For liability, you also agree not to bring any action against us until the amount of damages you are legally
    obligated to pay has been finally determined after an actual trial or appeal, if any, or by a written
    agreement between you, us and the claimant. No person or organization has any right under this policy to
    bring us into any action to determine the liability of a covered person.

    Alternate dispute resolution
    Any dispute, controversy, proceeding or claim, whether in contract, tort, common, or statutory law, arising
    out of or relating to:
  • any claim made under this Policy for loss or damage; or
  • the breach, termination, enforcement, interpretation, or validity of this Policy, including the determination
    of the scope or applicability of this Dispute resolution provision; or
  • the relationship between you and us,
    may be resolved by arbitration as provided below.



    11/1 7                                                Policy Terms                                Page 0-6
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    Policy
    Terms
CHUE3Er

    Special Conditions
    (continued)


     The arbitration will be conducted pursuant to the current Marine Arbitration Rules and the Shortened
     Arbitration Procedure of the Society of Maritime Arbitrators, Inc. The appointment of arbitrator(s) shall be
     conducted as follows:
   • the parties shall agree on a sole arbitrator to decide the disputed issue;
   • if the parties are unable to agree on a sole arbitrator, each party will appoint an arbitrator and those two
     (2) arbitrators will appoint a third who will serve as the chair of the arbitration panel. If one party fails to
     appoint its arbitrator or the two party-appointed arbitrators fail to appoint a third arbitrator, the parties are
     directed to follow the Rules of the Society of Maritime Arbitrators, Inc.;
   • any hearings shall be conducted in a locality agreed by the parties. If the parties cannot agree on a
     locality, then any hearing(s) shall be conducted in the State appearing in your address as contained upon
     the Declarations Page;
   • in the event of a conflict between the Rules of the Society of Maritime Arbitrators, Inc. and this Policy, the
     terms of this Policy shall govern;
   • a demand for arbitration must be served on the other party or parties within one (1) year of the date we
     issue our final coverage determination;
   • we may arbitrate the amount of your loss or damage without waiving our right to determine coverage or a
     lack of coverage for the loss;
   • any decision of the arbitrator(s) shall be final, binding on the parties hereto, and not subject to further
      review; and
     judgement upon any award rendered by the arbitrator(s) may be entered in any court having jurisdiction.

     Nonrenewal
     If we decline to renew all or part of this policy, we will mail notice of nonrenewal to the mailing address
     shown on the Declarations Page within the timeframes required by law with any nonrenewal reasons
     required by law. We will obtain a certificate of mailing. A copy of the notice will also be sent to the last
     known loss payee named in this policy.

     Your cancellation
     You may cancel this policy or any part of it at any time by returning it to us or notifying us in writing of the
     future date that the cancellation is to take effect.

     Our cancellation
     We may cancel this policy or any part of it, subject to the following conditions. Our right to cancel applies
     to each coverage or limit in this policy.

     Within 60 days. When this policy or any part of it has been in effect for less than 60 days, we may cancel
     it with 10 days notice for any reason.

     For more than 60 days. When this policy or any part of it has been in effect for more than 60 days, we
     may cancel it with 30 days notice for any reason.

     Nonpayment of premium. We may cancel this policy or any part of it with 10 days notice if you fail to pay
     the premium by the due date, regardless of whether the premium is payable to us, to our agent, or under
     any finance or credit agreement.



     11/17                                                Policy Terms                                      Page 0-7
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    Policy
    Terms



    Special Conditions
    (continued)


    Liability coverage only. If we cancel liability coverage in this policy, we will cancel the following
    coverages with 30 days notice:
  • Jones Act and related General Maritime Law; and
  • Federal Longshore and Harbor Workers' Compensation Act.

    Procedure
    To cancel this policy or any part of it, we must notify you in writing. This notice will be mailed to you at the
    mailing address shown on the Declarations Page within the timeframes required by law with any
    cancellation reasons required by law. We will obtain a certificate of mailing. This notice will include the
    date the cancellation is to take effect.

    Refund
    In the event of cancellation by you or by us, we will refund any unearned premium on the effective date of
    cancellation, or as soon as possible afterwards. The unearned premium will be computed pro rata, for the
    unexpired term for each part of the policy.




    11/17                                                Policy Terms                                     Page 0-8
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    Signatures
CHUBB'


    In Witness Whereof, the company issuing this policy has caused this policy to be signed by its authorized
    officers, but this policy shall not be valid unless also signed by a duly authorized representative of the
    company.



     ACE AMERICAN INSURANCE COMPANY                        FEDERAL INSURANCE COMPANY
     ACE FIRE UNDERWRITERS INSURANCE COMPANY               GREAT NORTHERN INSURANCE COMPANY
     INSURANCE COMPANY OF NORTH AMERICA




                    JOHN J. LUPICA, President
                                                                        PAUL KRUMP, President




             REBECCA L.
                     L. COLLINS, Secretary
                                                                        BRANDON M. PEENE, Secretary




     /1/17                                               Policy Terms
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     MasterPiece®                                                                              Florida Amendatory
                                                                                               Endorsement
CHUBB


   Named Insured                                                                                         Vessel Number

   Where's Eileen, LLC
   Policy Number                                      Policy Period                                      Effective Date of Endorsement
   Y09879407                                          6/10/2019 TO 6/10/2020                             6/10/2019
   Issued By (Name of Insurance Company)
   ACE AMERICAN INSURANCE COMPANY
    Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of
    the policy.


    This endorsement applies to an insured vessel only if shown on the Declarations Page or the applicable
    Scheduled Vessel Endorsement for that insured vessel.

    Under Introduction and Definitions, the following is added:

    The word "warranty" is replaced with the word "condition" wherever it appears in the Policy.

    Under Introduction and Definitions, Definitions, the definitions for Bodily Injury and Spouse are deleted
    and replaced with the following:

    Bodily injury means bodily harm, including sickness or disease that results from it, and required care,
    loss of services, and resulting death.

    Spouse means a partner in marriage or a partner in a civil union recognized under state, local, or
    municipal laws.

    Under Boat Property Damage Coverage, Extra Property Damage Coverages, Trailers, the following is
    added.

    However, if a comprehensive or collision deductible is applied to the same loss then we will waive the
    trailer deductible shown on the Declarations Page.

    Under Boat Liability Coverage and Boat Select Liability Coverage, Payment for a Loss, the Deductible
    provision is deleted in its entirety.

    Under Medical Payments Coverage, Exclusions, the Covered person's or dependent's bodily injury
    exclusion is deleted in its entirety.

    Under Uninsured Boaters Protection, Uninsured Boaters Protection, the first bullet in the second
    paragraph is deleted in its entirety.

    Under General Policy Exclusions, General Exclusions, Racing, is deleted and replaced with the following:

    Racing
    We do not provide any coverage for loss, damage, liability or expenses arising out of the use of your
    insured vessel during any instruction, practice, preparation for, or participation in, any competitive,
    prearranged or organized racing, speed test or speed contest, sports event or timed event of any kind,
    except sailboat races or predicted log contests.
   MA-16119d (11/17)                                                                                                                       Page 1 of 4
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    Under General Policy Exclusions, General Exclusions, Chemical weapons and cyber attacks, is deleted in
    its entirety.

    Under Policy Terms, General Conditions, Assignment, is deleted and replaced with the following:

    Assignment
    This policy cannot be assigned to anyone else without our permission.

    Under Policy Terms, Property Damage Conditions, Your duties after a loss, Notification, Display of loss,
    and Examination under oath, are deleted and replaced with the following:

    Notification. You must notify us or your agent or broker of your loss as soon as is practicable. In case of
    theft or accident, you must also notify the police or similar competent authority.

    Display of loss. You must show us the damaged property when reasonably possible when we ask and
    as often as we require.

    Examination under oath. We have the right to examine separately under oath, as often as we may
    reasonably require, you, family members, captain or crew members, other members of your household,
    anyone using your insured vessel with your permission, and have them subscribe the same. We may also
    ask you to give us a signed description of the circumstances surrounding a loss and your interest in it,
    and to produce all relevant records and documents we request and permit us to make copies.

    Under Policy Terms, Property Damage Conditions, Insurable interest, the second sentence is deleted in
    its entirety.

    Under Policy Terms, Property Damage Conditions, Loss payee, the third paragraph is deleted and
    replaced with the following:

    Policy conditions under Legal action against us do not apply to the loss payee except for in relation to a
    survey. If the policy is cancelled or not renewed by us, the loss payee will be notified at least 10 days
    before the date cancellation or nonrenewal takes effect.

     Under Policy Terms, Liability, Medical Payments and Uninsured Boaters Protection Conditions, Your
     duties after a loss, Examination under oath, is deleted and replaced with the following:

     Examination under oath. We have the right to examine separately under oath, as often as we may
     reasonably require, you, family members, captain or crew members, other members of your household,
     anyone using your insured vessel with your permission that is seeking coverage under the policy, and
     have them subscribe the same. We may also ask you to give us a signed description of the
     circumstances surrounding a loss and your interest in it, and to produce all relevant records and
     documents we request and permit us to make copies.

     Under Policy Terms, Special Conditions, Legal action against us, Nonrenewal, Your cancellation, Our
     cancellation, Procedure and Refund, are deleted and replaced with the following:

     Legal action against us
     You agree not to bring legal action against us unless you have first complied with all conditions of this
     policy. For property, you also agree to bring any action against us within five years after a loss occurs, but
     not until 30 days after proof of loss has been submitted to us. However, this five-year period is extended
     by the number of days between the date that proof of loss is submitted and the date the claim is denied in
     whole or in part.



    MA-16119d (11/17)                                                                                   Page 2 of 4
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    For liability, you also agree not to bring any action against us until the amount of damages you are legally
    obligated to pay has been finally determined after an actual trial or appeal, if any, or by a written
    agreement between you, us and the claimant. No person or organization has any right under this policy to
    bring us into any action to determine the liability of a covered person.

    Non renewal
    If we decline to renew this policy, we will mail you a notice of nonrenewal at the mailing address shown on
    the Declarations Page at least 90 days before the policy ends and we will obtain a certificate of mailing. If
    the policy period is other than one year, we have the right to refuse to renew only on each anniversary of
    the effective date. This notice will contain the reason(s) for nonrenewal.

    Your cancellation
    You may cancel this policy at any time by returning it to us or notifying us in writing of the future date that
    the cancellation is to take effect.

    Our cancellation
    We may cancel this policy subject to the following conditions.

    Nonpayment of premium. We may cancel this policy with 10 days notice if you fail to pay the premium
    by the due date, regardless of whether the premium is payable to us, to our agent, or under any finance
    or credit plan. However, if this policy is cancelled because of a lender's failure to timely pay the premium
    when due, we will reinstate the policy retroactive to the date of cancellation if we receive the past due
    premium within 90 days of the due date.

    90 days or less. When this policy has been in effect for 90 days or less, we may cancel with 20 days
    notice for any reason.

    Over 90 days. When this policy has been in effect over 90 days, we will provide 90 days notice of
    cancellation.

    We may cancel this policy if:
  • the coverage was obtained through misrepresentation, fraudulent statements, or omissions or
    concealment of a material fact that is relevant to the acceptance of the risk or to the hazard we assumed;
     Or
  • there is a substantial change in the risk which increases the chance of loss after insurance coverage has
    been issued or renewed; or
  • there is a failure to comply with underwriting requirements established by us within 90 days of the
    effective date of coverage; or
  • the cancellation is for all insureds under such policies for a given class of insureds.

     Procedure
     To cancel this policy, we must notify you in writing. This notice will be mailed to you at the mailing address
     shown on the Declarations Page within the timeframes required by law with any cancellation reasons
     required by law. We will obtain a certificate of mailing. This notice will include the date the cancellation is
     to take effect.




    MA-16119d (11/17)                                                                                    Page 3 of 4
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    Refund
    In the event of cancellation by you or by us, we will refund all unearned premium within 15 days after the
    effective date of cancellation. The unearned premium will be computed pro rata for the unexpired term for
    each part of the policy.


               ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




    MA-16119d (11/17)                                                                               Page 4 of 4
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                                                   SCHEDULED VESSEL ENDORSEMENT

 Named Insured   Where's Eileen, LLC                                                                                                              Vessel Number
                                                                                                                                                  Vessel 1
 Policy Number                                                            Policy Period                                                            Effective Date of Endorsement
 Y09879407                                                                6/10/2019 TO 6/10/2020                                                  6/10/2019
 Issued By (Name of Insurance Company)
 ACE AMERICAN INSURANCE COMPANY

            Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.

In consideration of the premium charged $ 74100 , the following is hereby included in the coverages afforded by the
present policy:


SUBJECT MATTER OF INSURANCE
Vessel Description: 2019, 112 OCEAN ALEXANDER, 112 MY
Hull I.D./Documentation Number: OAX11204B819
Vessel Name: 'Where's Eileen'
COVERAGE PROVIDED —
                                                                             AMOUNT OF                                                                             ANNUAL
          COVERAGES                                                          INSURANCE                                   DEDUCTIBLE                                PREMIUM
          Property Damage                                                        13,500,000                                    67,500                       $             62,325
          Windstorm Deductible                                                                                         Not Applicable                       $
          Emergency Towing and Service                                                13,500,000                                    0                       $         Included
          Liability                                                                   15,000,000                                    0                       $            6,630
          Medical Payments                                                                   100,000                                                0       $         Included
          Uninsured Boater                                                               2,000,000                                               0          $         Included
          Trailer                                                                            5,000                                             250          $         Included
          Personal Property                                                                  100,000                                                0       $         Included
          Premium Bearing Endt(s)                                                                                                                                             5,145

                                                                                                               TOTAL               74,100
APPLICABLE FORMS & ENDORSEMENTS:                                         (Refer to Forms Schedule on Declarations Page for Form Names)
*RM100000 *RM150000 *RM200000 *RM210000 *RM220000 *RM230000 *RM240000 *MA-7W74a
*MA-16119d *RM-5007 *RM-5008 *CC-1E15a(RMM-5028) *MA-9S87b *MA-9S88a *MA-9S91g


*Denotes form is included with Insured copy
NAVIGATION WARRANTY:
Refer to Form: MA- 7W74a



SUMMER MOORING LOCATION: Fort Lauderdale, FL 33301

LOSS PAYEE: We will make payments for Property Damage losses to the Insured and
                                                                 BB&T - Titled Collateral
                                                                        PO Box 2287
                                                                     Wilson, NC 27894


                          ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




MA-2W801 (03/19)                                                                           1,1                                                                                Page 1 of 1
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                                                               NAVIGATION WARRANTY

Named Insured    Where's Eileen, LLC                                                                                                              Endorsement Number
                                                                                                                                                  Vessel 1
Policy Symbol                Policy Number                                Policy Period                                                            Effective Date of Endorsement
YMY                          Y09879407                                    6/10/2019 TO 6/10/2020                                                  6/10/2019
 Issued By (Name of Insurance Company)
ACE AMERICAN INSURANCE COMPANY
            Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.




Warranted confined to:
Atlantic, Gulf and inland waters of North America, and Central America, and the
waters of the Caribbean Sea.

All within the following parameters:
- not north of Halifax, Nova Scotia;
- not south of 14 degrees North Latitude;
- not east of 58 degrees West Longitude;

excluding, the coastal waters of: Bermuda, Cuba, Haiti, and Nicaragua.




                                   ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




MA-7W74a (5/97) Ptd. in U.S.A.
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     mcuterpiece®                                                                           Captain On File and Special
                                                                                            No-Captain Deductible
                                                                                            Endorsement
CHUBB

    Named Insured                                                                                        Vessel Number

    Where's Eileen, LLC                                                                                  Vessel 1
    Policy Number                                     Policy Period                                      Effective Date of Endorsement
    Y09879407                                         6/10/2019 TO 6/10/2020                             6/10/2019
    Issued By (Name of Insurance Company)
    ACE AMERICAN INSURANCE COMPANY
    Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of
    the policy.


    This endorsement applies to an insured vessel only if shown on the Declarations Page or the applicable
    Scheduled Vessel Endorsement for that insured vessel.

    It is a condition of this policy that you must employ the captain on file, as shown below, for your insured
    vessel. You must provide us with your captain's written resume and we must approve of him/her before
    he/she becomes the captain on file. If the captain on file is no longer your captain, you must notify us
    within 30 days of his/her last date of employment. If you hire a new captain, you must provide us with
    his/her written resume, and we must approve of him/her before he/she becomes the new captain on file. If
    we do not approve of your new captain, we will send you a notice of cancellation to the mailing address
    shown on the Declarations Page within the timeframes required by law.

    Any time during the policy term that the captain on file is no longer your captain, in lieu of the property
    damage deductible, a special 50% no-captain deductible applies to each occurrence, unless we agree in
    advance in writing to waive this special deductible. The dollar amount of this special no-captain deductible
    is equal to 50% of the amount of coverage for property damage as shown on the Declarations Page at the
    time of a covered loss. However, the special no-captain deductible does not apply of the covered loss is
    caused directly by lightning and no other peril.

    Captain on file means the person employed by you as the captain of your insured vessel who has no
    other employment and who is shown in our files and listed below as your captain on file.


    Captain on file:
    Tony Valentino


                   ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




    RM-5007 (11/17)                                                                                                                        Page 1 of 1
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     MagerPieCee                                                                            Crew Members
                                                                                            Endorsement
CHUBB



    Named Insured                                                                                        Vessel Number

    Where's Eileen, LLC                                                                                  Vessel 1
    Policy Number                                     Policy Period                                      Effective Date of Endorsement
    Y09879407                                         6/10/2019 TO 6/10/2020                             6/10/2019
    Issued By (Name of Insurance Company)
    ACE AMERICAN INSURANCE COMPANY
    Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of
    the policy.

    This endorsement applies to an insured vessel only if shown on the Declarations Page or the applicable
    Scheduled Vessel Endorsement for that insured vessel.

    It is a condition of this policy that there are no more than (5) crew member(s), including the captain,
    employed on board your insured vessel at any one time.

    If additional crew are employed on board your insured vessel at any time during the policy period, you are
    required to give prior notice to us and pay any additional premium. If you fail to give such prior notice to
    us and there is a greater number of crew members employed than is stated above, we will only provide
    you coverage in the proportion that the above number of crew members bears to the actual number of
    crew members on board at the time of loss.




                   ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




    RM-5008 (11/17)                                                                                                                        Page 1 of 1
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 MagerPieCes
CHUBB

Named Insured     Where's Eileen, LLC                                                                                               Vessel Number
                                                                                                                                    Vessel 1
Policy Number                                                      Policy Period                                                    Effective Date of Endorsement
Y09879407                                                          6/10/2019 TO 6/10/2020                                           6/10/2019
Issued By (Name of Insurance Company)
ACE AMERICAN INSURANCE COMPANY
    Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.

                                                                TOWING ENDORSEMENT

This endorsement applies to an insured vessel only if shown on the Declarations Page
or the applicable Scheduled Vessel Endorsement for that insured vessel.

Under Yacht Preference Property Damage Coverage, Extra Property Damage Coverages,
the following is added:

Towing

We cover loss arising out of the towing of your 2019 36' Blackwater when towed by
your 2019 112' Ocean Alexander 'Where's Eileen'. In lieu of the property damage
deductible, a special towing deductible of 50% applies to each covered loss to the
2019 36' Blackwater resulting from towing. Accordingly, the Towing exclusion under
General Policy Exclusions does not apply to such towing.

Under Yacht Preference Liability Coverage, Extra Liability Coverages, the following
is added:

Towing

We cover damages arising out of the towing of your 2019 36' Blackwater when towed by
your 2019 112' Ocean Alexander 'Where's Eileen'. Accordingly, the Towing exclusion
under General Policy Exclusions does not apply to such towing.


ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




CC-1E15a 11/17 RMM-5028                                                                                                                                   Page 1 of 1
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     MagerPieCe®                                                                               Hull War Risk and Strike
                                                                                               Clause Endorsement
CHUBB

    Named Insured                                                                                        Vessel Number

    Where's Eileen, LLC                                                                                  Vessel 1
    Policy Number                                     Policy Period                                      Effective Date of Endorsement
    Y09879407                                         6/10/2019 TO 6/10/2020                             6/10/2019
    Issued By (Name of Insurance Company)
    ACE AMERICAN INSURANCE COMPANY
    Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of
    the policy.


    This endorsement applies to an insured vessel only if shown on the Declarations Page or the applicable
    Scheduled Vessel Endorsement for that insured vessel.

    American Institute Hull War Risks and Strikes Clauses, including Automatic Termination and
    Cancellation provisions, for attachment to American Institute Hull Clauses September 29. 2009, as
    amended:

    This insurance, subject to the exclusions set forth herein, covers only those risks which would be covered
    by the attached policy (including collision liability) in the absence of the WAR, STRIKES AND RELATED
    EXCLUSIONS clause contained therein but which are excluded thereby and which risks shall be
    construed as also including:
    1. Any mine, bomb or torpedo not carried as cargo on board the Vessel:
    2. Any weapon of war employing atomic or nuclear fission and/or fusion or other like reaction or
        radioactive force or matter;
    3. Civil war, revolution, rebellion, insurrection, or civil strife arising therefrom, or piracy;
    4. Strikes, lockouts, political or labor disturbances, civil commotions, riots, martial law, military or
        usurped power;
    5. Malicious acts or vandalism to the extent only that such risks are not covered by the attached Policy;
    6. Hostilities or warlike operations (whether there be a declaration of war or not) but this paragraph (6)
        shall not include collision or contact with aircraft, rockets or similar missiles, or with any fixed or
        floating object, or stranding, heavy weather, fire or explosion unless caused directly by a hostile act
        by or against a belligerent power which act is independent of the nature of the voyage or service
         which the Vessel concerned or, in the case of a collision, any other vessel involved therein, is
        performing. As used herein, "power" includes any authority maintaining naval, military or air forces in
        association with a power;
    7. Confiscation or expropriation;
    8. Any act perpetrated by terrorists or any act carried out by any person or persons acting primarily from
         a political, religious or ideological motive;
    9. Any threat of terrorist activity, actual or perceived, including closure of ports or blockage of waterways
         resulting therefrom.

     EXCLUSIONS
     This insurance does not cover any loss, damage or expense caused by, resulting from, or incurred as a
     consequence of:

     a. Any hostile detonation of any weapon of war described above in paragraph (2);
     b. Outbreak of war (whether there be a declaration of war or not) between any of the following countries:
        United States of America, United Kingdom, France, the Russian Federation or the People's Republic
        of China;
     c. Delay or demurrage;



    MA-9S87b (11/17)                                                                                                                       Page 1 of 3
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    mmterpiece®                                                     Hull War Risk and Strike
                                                                    Clause Endorsement
CHUBB
    d. Requisition or preemption;
    e. Arrest, restraint or detainment under customs or quarantine regulations and similar arrests, restraints
       or detainments not arising from actual or impending hostilities;
    f. Capture, seizure, arrest, restraint, detainment, confiscation or expropriation by the Government of the
       United States or of the country in which the Vessel is owned or registered.

    HELD COVERED AND OTHER PROVISIONS
    "Subject to the provisions of the Automatic Termination and Cancellation Clauses below, held covered in
    the event of any breach of conditions as to loading or discharging of cargo at sea, or towage or salvage
    activities provided (a) notice is given to the Underwriters immediately following receipt of knowledge
    thereof by the Assured, and (b) any amended terms of cover and any additional premium required by the
    Underwriters are agreed to by the Assured."

    If at the natural expiry time of this insurance the Vessel is at sea, this insurance will be extended,
    provided previous notice be given to the Underwriters, for an additional premium at a rate to be named by
    the Underwriters, until midnight Local Time of the day on which the Vessel enters the next port to which
    she proceeds and for 24 hours thereafter, but in no event shall such extension affect or postpone the
    operation of the Automatic Termination and Cancellation Clauses below.

    The provisions of the attached policy with respect to Total Loss shall apply only to claims arising from
    physical damage to the Vessel.

    In the event that the Vessel shall have been the subject of capture, seizure, arrest, restraint,
    detainment, confiscation or expropriation, and the Assured, by reason thereof, has lost the free use
    and disposal of the Vessel for continuous period of twelve (12) months (even though condemnation
    has not occurred), then for the purposes of ascertaining whether the Vessel is a constructive Total
    Loss, the Assured shall be deemed to have been deprived of the possession of the Vessel without
    any likelihood of recovery.

    "Restraint" as used in the paragraph above shall be deemed to include the inability of the Vessel to
    sail from any port or place to the high seas because of the connecting waterway to all vessels of
    similar size or draft due to blockage of such waterway caused by hostilities or warlike operations.

    Warranted not to abandon in case of capture, seizure, detention, confiscation or expropriation until after
    condemnation of the property insured, or, in circumstances set forth above, after twelve (12) months,
    whichever first occurs.

    AUTOMATIC TERMINATION AND CANCELLATION CLAUSES
    A. This insurance and any extension thereof, unless sooner terminated by the provisions of section B or
       C, shall terminate automatically upon and simultaneously with the occurrence of any hostile
       detonation of any nuclear weapon of war as defined above, wheresoever or whensoever such
       detonation may occur and whether or not the Vessel may be involved.
    B. This insurance and any extension thereof, unless sooner terminated by the provisions of section A or
       C, shall terminate automatically upon and simultaneously with the outbreak of war, whether there be
       a declaration of war or not, between any of the following countries: United States of America, United
       Kingdom, France, the Russian Federation or the People's Republic of China.
    C. This insurance and any extension thereof, unless sooner terminated by section A or B, shall terminate
       automatically if and when the Vessel is requisitioned, either for title or use.
    D. This insurance and any extension thereof may be cancelled at any time at the Assured's request, or
       by Underwriters upon seven (7) days' written notice being given to the Assured, but in no event shall
       such cancellation affect or postpone the operation of the provisions of sections A, B or C. Written or
       electronic notice sent to the Assured at his (its) last known address shall constitute a complete notice
       of cancellation and such notice mailed or sent electronically to the said Assured, care of the broker



   MA-9S87b (11/17)                                                                                 Page 2 of 3
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     masterpiece®                                                     Hull War Risk and Strike
                                                                      Clause Endorsement
CHUBB'
        who negotiated this insurance, shall have the same effect as if sent to the said Assured direct. The
        mailing or electronic of notice as aforesaid shall be sufficient proof of notice and the effective date
        and hour of cancellation shall be seven (7) days from midnight Local Time of the day on which such
        notice was mailed or sent electronically as aforesaid. Underwriters agree, however, to reinstate this
        insurance subject to agreement between Underwriters and the Assured prior to the effective date and
        hour of such cancellation as to new rate of premium and/or conditions and/or warranties.

    RETURNS OF PREMIUM
    The refund clause of the attached policy is deleted and the following substituted therefore: "In the event of
    an automatic termination or cancellation of this insurance under the provisions of sections A, B, C or D
    above, or if the Vessel be sold, pro rata net return of premium will be payable to the Assured, provided
    always that a Total Loss of the Vessel has not occurred during the currency of this Policy. In no other
    event shall there be any return of premium."

    THIS INSURANCE SHALL NOT BECOME EFFECTIVE IF, PRIOR TO THE INTENDED TIME
    OF ITS ATTACHMENT, THERE HAS OCCURRED ANY EVENT WHICH WOULD HAVE
    AUTOMATICALLY TERMINATED THIS INSURANCE UNDER THE PROVISIONS OF
    SECTIONS A, B, OR C HEREOF HAD THIS INSURANCE ATTACHED PRIOR TO SUCH
    OCCURRENCE.

    PLEASE REFER TO YOUR POLICY FOR THE TERMS, CONDITIONS AND EXCLUSIONS FOR THE
    PRECISE COVERAGE AFFORDED.




               ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




    MA-9S87b (11/17)                                                                                  Page 3 of 3
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     MasterPiece®                                                                              War Risk Liability
                                                                                               Endorsement
CHLJE3E3

   Named Insured                                                                                         Vessel Number

   Where's Eileen, LLC                                                                                   Vessel 1
   Policy Number                                      Policy Period                                      Effective Date of Endorsement
   Y09879407                                          6/10/2019 TO 6/10/2020                             6/10/2019
   Issued By (Name of Insurance Company)
   ACE AMERICAN INSURANCE COMPANY
    Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of
    the policy.


    This endorsement applies to an insured vessel only if shown on the Declarations Page or the applicable
    Scheduled Vessel Endorsement for that insured vessel.

    Under Liability Coverage, Extra Liability Coverages, the following is added:

    War Risk
    We cover damages you are legally obligated to pay for bodily and property damage caused directly or
    indirectly by war, undeclared war, civil war, insurrection, rebellion, revolution, capture, seizure, arrest,
    restraint or detainment, strikes, riots, civil commotion, warlike acts by military forces or personnel or the
    consequences of any of these actions. This includes the contractual repatriation expenses of any crew
    member. These payments do not increase the amount of liability coverage.

    Automatic Termination and Cancellation Clauses
    This part of your coverage will terminate automatically at the same time as the coverage provided under
    the Endorsement, American Institute Hull War Risks and Strikes Clauses based on the terms and
    conditions contained in the Automatic Termination and Cancellation Clauses of the Endorsement,
    American Institute Hull War Risks and Strikes Clauses. However, in the event of a covered loss to your
    insured vessel prior to the expiration of this policy or the automatic termination of this policy, this
    insurance will continue to cover your liability to the crew of your insured vessel, subject to the policy's
    terms and conditions and your payment of the required additional premium, until the crew is either
    discharged or landed at a port or place to which you are obliged to bring them.



                   ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




   MA-9S88a (11/17)                                                                                                                        Page 1 of 1
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     muter ieces                                                                               War Risk Trading
                                                                                               Warranties Endorsement
CHUBB

    Named Insured                                                                                        Vessel Number

    Where's Eileen, LLC                                                                                  Vessel 1
    Policy Number                                     Policy Period                                      Effective Date of Endorsement
    Y09879407                                         6/10/2019 TO 6/10/2020                             6/10/2019
    Issued By (Name of Insurance Company)
    ACE AMERICAN INSURANCE COMPANY
    Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of
    the policy.


    This endorsement applies to an insured vessel only if shown on the Declarations Page or the
    applicable Scheduled Vessel Endorsement for that insured vessel.

    Coverage provided by the Endorsement, American Institute Hull War Risks and Strikes Clauses,
    does not apply in the event that your insured vessel sails for, deviates towards, or is within the
    territorial waters of any of the countries listed in the current exclusions below (including any port
    area that at the date of this notice constitutes part of such a country or place however it may
    hereafter be described), unless we agree in advance in writing to provide coverage and you pay the
    required additional premium.

    Current exclusions:
    • Bahrain excluding transit
    • Benin
    • Borneo, but only the northeast coast between the ports of Kudat and Tarakan inclusive
    • Djibouti excluding transit
    • Eritrea, but only South of 15 degrees N
    • Georgia
    • Gulf of Guinea, but only the waters of the Beninese and Nigerian Exclusive Economic Zones north
       of Latitude 3 degrees N.
    • Indian Ocean / Arabian Sea / Gulf of Aden / Gulf of Oman / Southern Red Sea, the waters
       enclosed by the following boundaries: on the northwest, by the Red Sea, south of Latitude 15
       degrees N, on the west of the Gulf of Oman by Longitude 58 degrees E, on the east, Longitude 78
       degrees E and on the south, Latitude 12 degrees S excepting coastal waters adjoining territories
        up to 12 nautical miles offshore unless otherwise provided.
    • Iran
    • Iraq, including all Iraqi offshore oil terminals
    • Israel
    • Lebanon
    • Libya
    • Nigeria
    • Pakistan
    • Saudi Arabia excluding transit
    • Somalia
    • Sumatera (Sumatra), but only the northeastern coast between 5 degrees 40' N and 0 degrees 48'
        N, excluding transit.
    • Sula Archipelago including Jobo the area enclosed between: on the western side, a straight line
        between Tanjung Bidadari (5 degrees 49'.6 N, 118 degrees 21.0 E) to position 3 degrees 32.0 N,
        118 degrees 57'.0 E on the southeastern side, a straight line from there to position 5 degrees 50.0
        N, 122 degrees 31.0 E and thence northwards to position 7 degrees 06'.6 N, 122 degrees 31.0 E


    MA-9S91g (11/17)                                                                                                                       Page 1 of 2
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    mmterpieces                                                    War Risk Trading
                                                                   Warranties Endorsement
CHLIBE3'
       on the northern side, a straight line from the Batorampon Point Light (7 degrees 06.6 N, 121
       degrees 53.8 E) and on the northwestern side, a straight line from there back to Tanjung Bidadari.
   •   Syria
   •   The port of Balikpapan (SE Borneo) including waters out to 25 nautical miles
   •   The port of Jakarta
   •   Venezuela, including all offshore installations in the Venezuelan EEZ
   •   Yemen


             ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




   MA-9S91g (11/17)                                                                               Page 2 of 2
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                                                   SCHEDULED VESSEL ENDORSEMENT

Named Insured    Where's Eileen, LLC                                                                                                              Vessel Number
                                                                                                                                                  Vessel 2
 Policy Number                                                            Policy Period                                                           Effective Date of Endorsement
 Y09879407                                                                6/10/2019 TO 6/10/2020                                                  6/10/2019
 Issued By (Name of Insurance Company)
 ACE AMERICAN INSURANCE COMPANY
            Insert the policy number. The remainder of the infomiation is to be completed only when this endorsement is issued subsequent to the preparation of the policy.

In consideration of the premium charged $ 7750 , the following is hereby included in the coverages afforded by the
present policy:


SUBJECT MATTER OF INSURANCE
Vessel Description: 2019, 36' BLACKWATER, 36
Hull I.D./Documentation Number: BLK00043C819
Vessel Name:

COVERAGE PROVIDED ---
                                                                             AMOUNT OF                                                                             ANNUAL
           COVERAGES                                                         INSURANCE                                   DEDUCTIBLE                                PREMIUM
           Property Damage                                           $              350,000                        $             7,000                       $                4,375
           Windstorm Deductible                                                                                   $                      35,000             $
           Emergency Towing and Service                             $                    350,000                  $                           0             $         Included
           Liability                                                $                 15,000,000                  $                           0             $            3,375
           Medical Payments                                         $                     25,000                  $                           0             $         Included
           Uninsured Boater                                         $                  2,000,000                  $                           0             $         Included
           Trailer                                                  $                      5,000                  $                         250             $         Included
           Personal Property                                        $                     25,000                  $                           0             $         Included
           Premium Bearing Endt(s)

                                                                                                               TOTAL                7,750
APPLICABLE FORMS & ENDORSEMENTS:                                         (Refer to Forms Schedule on Declarations Page for Form Names)
*RM100000 *RM140000 *RM190000 *RM210000 *RM220000 *RM230000 *RM240000 *MA-7W74a
*_16119d *RM-5000 *RM-5008 *CC-1E15a(RMM-5028)


*Denotes form is included with Insured copy
NAVIGATION WARRANTY:
Refer to Form: MA-7W74a



SUMMER MOORING LOCATION: Lighthouse Point, FL 33064

LOSS PAYEE: We will make payments for Property Damage losses to the Insured and




                          ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




MA-2W801 (03/19)                                                                           1,1                                                                                Page 1 of 1
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                                                               NAVIGATION WARRANTY

Named Insured    Where's Eileen, LLC                                                                                                              Endorsement Number
                                                                                                                                                  Vessel 2
 Policy Symbol               Policy Number                                Policy Period                                                            Effective Date of Endorsement
YMY                          Y09879407                                    6/10/2019 TO 6/10/2020                                                  6/10/2019
 Issued By (Name of Insurance Company)
ACE AMERICAN INSURANCE COMPANY
            Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.




Warranted confined to:
Atlantic, Gulf and inland waters of North America, and Central America, and the
waters of the Caribbean Sea.

All within the following parameters:
- not north of Halifax, Nova Scotia;
- not south of 14 degrees North Latitude;
- not east of 58 degrees West Longitude;

excluding, the coastal waters of: Bermuda, Cuba, Haiti, and Nicaragua.




                                   ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.




MA-7W74a (5/97) Ptd. in U.S.A.
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     mager lave                                                                                Special Windstorm
                                                                                               Deductible Endorsement
CHUBB


   Named Insured                                                                                         Vessel Number

   Where's Eileen, LLC                                                                                   Vessel 2
   Policy Number                                      Policy Period                                      Effective Date of Endorsement
   Y09879407                                          6/10/2019 TO 6/10/2020                             6/10/2019
   Issued By (Name of Insurance Company)
   ACE AMERICAN INSURANCE COMPANY
    Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of
    the policy.



    This endorsement applies to an insured vessel only if shown on the Declarations Page or the applicable
    Scheduled Vessel Endorsement for that insured vessel.

    Under Property Damage Coverage, Payment for a Loss, Deductible, the following is added:

    In lieu of the property damage deductible shown on the Declarations Page, a special windstorm
    deductible applies to each covered loss caused by wind, rain, water, wave or hail when those losses are
    the result of a tropical depression, tropical storm or hurricane.



          ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




   RM-5000 (11/17)                                                                                                                         Page 1 of 1
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     MaySterPieCe®                                                                          Crew Members
                                                                                            Endorsement
CHUBB



    Named Insured                                                                                        Vessel Number

    Where's Eileen, LLC                                                                                  Vessel 2
    Policy Number                                     Policy Period                                      Effective Date of Endorsement
    Y09879407                                         6/10/2019 TO 6/10/2020                             6/10/2019
    Issued By (Name of Insurance Company)
    ACE AMERICAN INSURANCE COMPANY
    Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of
    the policy.

    This endorsement applies to an insured vessel only if shown on the Declarations Page or the applicable
    Scheduled Vessel Endorsement for that insured vessel.

    It is a condition of this policy that there are no more than (5) crew member(s), including the captain,
    employed on board your insured vessel at any one time.

    If additional crew are employed on board your insured vessel at any time during the policy period, you are
    required to give prior notice to us and pay any additional premium. If you fail to give such prior notice to
    us and there is a greater number of crew members employed than is stated above, we will only provide
    you coverage in the proportion that the above number of crew members bears to the actual number of
    crew members on board at the time of loss.




                   ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




    RM-5008 (11/17)                                                                                                                        Page 1 of 1
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 MaSterPieCe®
CHUBB

Named Insured     Where's Eileen, LIC                                                                                               Vessel Number
                                                                                                                                    Vessel 2
Policy Number                                                      Policy Period                                                    Effective Date of Endorsement
Y09879407                                                          6/10/2019 TO 6/10/2020                                           6/10/2019
Issued By (Name of Insurance Company)
ACE AMERICAN INSURANCE COMPANY
    Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.

                                                                TOWING ENDORSEMENT

This endorsement applies to an insured vessel only if shown on the Declarations Page
or the applicable Scheduled Vessel Endorsement for that insured vessel.

Under Yacht Select Property Damage Coverage, Extra Property Damage Coverages, the
following is added:

Towing

We cover loss arising out of the towing of your 2019 36' Blackwater when towed by
your 2019 112' Ocean Alexander 'Where's Eileen'. In lieu of the property damage
deductible, a special towing deductible of 50% applies to each covered loss to the
2019 36' Blackwater resulting from towing. Accordingly, the Towing exclusion under
General Policy Exclusions does not apply to such towing.

Under Yacht Select Liability Coverage, Extra Liability Coverages, the following
is added:

Towing

We cover damages arising out of the towing of your 2019 36' Blackwater when towed by
your 2019 112' Ocean Alexander 'Where's Eileen'. Accordingly, the Towing exclusion
under General Policy Exclusions does not apply to such towing.


ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




CC-1E15a 11/17 RmM-5028                                                                                                                                   Page 1 of 1
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                                EXHIBIT
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                                                   /NE



     February 28, 2020

     VIA ELECTRONIC MAIL

    Mr. & Mrs. Mark Fischer
    534 Bontona Ave
    Fort Lauderdale, FL. 33301

    Re: 112 Ocean Alexander

    Dear Mr. and Mrs. Fischer:

            This letter will serve to inform you that MarineMax is unable to take your 112' Ocean
    Alexander "Where's Eileen" on trade. We simply cannot ascertain the market value given the
    lightning strike, extensive repairs and the impact of the associated disclosure letter to a new buyer.

            Moreover, we feel that even with a strong disclosure letter there is underlying liability due
    to the nature of the repairs that we are not willing to accept. We believe given the severity of the
    strike and subsequent damage that resources do not exist to get the boat back working properly
    without the overhang of massive liability to the seller. We also would not be willing to represent
    the boat in the brokerage market for the same reasons.

           We stand ready to help in any way possible, however representing the boat for sale is not
    an avenue for us given the nature of the damage and subsequent repairs.


                                                                  Respectfully,



                                                                  Chuck Cashman,
                                                                  Chief Revenue Officer




                          2600 McCormick Drive, Suite 200 Clearwater, FL 33759
                                   727-531-1700 l www.marinemax.com
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                                 EXHIBIT
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                     OCEAN ALEXANDER®

March 2, 2020

Mark & Eileen Fischer
2716 NE 30th Ave
Lighthouse Point, FL. 33604

RE: 2019 Ocean Alexander 112, HIN: OAK] 1204B819


Dear Mr. and Mrs. Fischer,

We are so very sorry about the damage your yacht (referenced above) incurred from lightning,
Having been advised of the extent of the damages to the yacht and having our VP of
Operations inspect the yacht, we believe the only way to approach any repair is to replace
the entire electrical system to include [wiring, switches, panels, electronics, generators and any
components that have been impacted by the lighting.

We are not aware of any structural damage; however, lightning can result in this kind of
damage and the vessel should be inspected by certified professional to determine if an'
damage has occurred.

To do anything less would, in our opinion, leave the yacht in an unsafe condition for use by
you or any future owner of the yacht.


Sincerely,




Richard AIlend
Director of US Operations




                              Alexander Marine International Co., Limited.
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                               EXHIBIT
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                                                                                                                                 NOTICE OF NONRENEWAL OF INSURANCE
                        C.)




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                                                        gaddressof theNamed Insured.
